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          IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                  GALVESTON DIVISION

MICHAEL BAZZREA, SABRINA               §
WILDER, COURTNEY CHEATUM,              §
TIMOTHY JORDEN, CALEB                  §
WADSWORTH,                             §
                                       §
for themselves and all others          §
similarly situated,                    §
                                       §
     Plaintiffs                        §
                  v.                   §   Civil Action No. ________
                                       §
ALEJANDRO MAYORKAS, in his             §
official capacity as Secretary of      §   CLASS ACTION
the U.S. DEPARTMENT OF                 §   COMPLAINT FOR
HOMELAND SECURITY,                     §   DECLARATORY AND
                                       §   INJUNCTIVE RELIEF
LINDA L. FAGAN, in her official        §
capacity as Commandant of the          §   JURY TRIAL DEMAND
UNITED STATES COAST                    §
GUARD,                                 §
                                       §
LLOYD AUSTIN, in his official          §
capacity as Secretary of the U.S.      §
DEPARTMENT OF DEFENSE,                 §
                                       §
JANET WOODCOCK, in her
                                       §
official capacity as Acting
                                       §
Commissioner of the U.S. FOOD
                                       §
AND DRUG ADMINISTRATION
                                       §
                                       §
     Defendants.
                                       §

                         INTRODUCTION

     1.    Plaintiffs are members of the United States Coast Guard

(“USCG”), active-duty and Reserve, all subject to the Department of
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Defense (“DoD”) COVID-19 “vaccine” mandate issued by Defendant

Secretary of Defense Lloyd Austin, III on August 24, 2021, as executed

by the Secretary of the Department of Homeland Security and

Commandant of the Coast Guard. Consistent with the Secretary of

Defense’s direction, on August 26, 2021, the Commandant announced

that all Coast Guard active duty and Ready Reserve members who are

not fully vaccinated, and do not fall within an approved exception, must

be vaccinated against COVID-19.1

        2.    Defendants have mandated that all members of the Coast

Guard receive a COVID-19 vaccine or be involuntarily separated. In

theory, Defendants offer medical, administrative, and Religious

Accommodation Requests (RARs) to the mandate. In practice, only

servicemembers with medical or administrative reasons for an

exemption from the mandate are accommodated, and even those

sparingly, while RARs are universally denied unless the requester is

eligible for administrative separation - i.e. imminently leaving the

Service.

        3.    All plaintiffs have sincerely held religious beliefs that



1
 USCG, COVID-19 vaccine mandated for all military members (Aug. 27, 2021),
available  at:   https://www.mycg.uscg.mil/News/Article/2753888/covid-19-
vaccine-mandated-for-all-military-members/ (last visited July 11, 2022).


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prohibit them from receiving the COVID-19 vaccine and have submitted

RARs – none have been granted. Because of their vaccination status,

Plaintiffs have been harassed, treated differently than their peers,

singled out publicly by their leaders, had their normal leave and liberty

restricted, been removed from senior/leadership positions, been denied

promotion, received official discipline, been barred from training, travel,

new assignments and permanent change of station (“PCS”) orders, and

face imminent involuntary separation, all while they have continued to

perform the mission alongside their “vaccinated” peers, in many cases,

while their “vaccinated” peers got sick with Covid-19 in large numbers. 2

        4.    Secretary Austin’s August 24, 2021 memorandum states

that the only vaccines that may be mandated are those fully licensed by

the Food and Drug Administration (“FDA”) and labeled in accordance

with FDA requirements. Due to the unavailability of any FDA-licensed



2 Article 13 of the Uniform Code of Military Justice (“UCMJ”) prohibits
unlawful restraint and punishment before a servicemember has had a trial and
been convicted. See Art. 13, UCMJ. Additionally, the Coast Guard’s Military
Justice Manual (COMDTINST 5810.1H) specifically instructs that
“[d]eprivation of normal liberty as a punishment, except as specifically
authorized under the UCMJ, is illegal.” Id., ¶ A.3.a. For a discussion of the
legality, and analysis, of orders restricting the liberty of military criminal
accused, see, generally, U.S. v. Milldebrandt, 8 USCMA 635 (1958); U.S. v.
Mack, 65 M.J. 108 (CAAF, 2007)(“The essential attributes of a lawful order
include: (1) issuance by competent authority; (2) communication of words that
express a specific mandate to do or not do a specific act; and (3) relationship of
the order to a military duty.”)


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vaccines, however, Defendants Mayorkas and Fagan directed that

service members instead take unlicensed, EUA vaccines because

Defendants claim that the unlicensed vaccines are “interchangeable”

with, and thus may be treated “as if” they were, FDA-licensed and

labeled vaccines. Defendants’ actions violate the Informed Consent

Laws, which expressly prohibit the mandate and coercive measures for

medical treatments like unlicensed Emergency Use Authorization

(“EUA”) vaccines.

      5.    The DOD Mandate and Coast Guard Mandate are

unconstitutional insofar as Defendants have deprived Plaintiffs of: (1)

their rights to free exercise of religion under the First Amendment and

the Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §2000bb-1,

et seq.; and (2) their rights to due process under the Fifth Amendment

because the mRNA shots being forced on servicemen and women are not

vaccines, but instead are (gene-therapy) treatments that meet none of

the statutory and historical definitions to be considered “vaccines.”

      6.    The mandates violate the following federal statutes and

regulations: (1) informed consent statutes for products subject to an

EUA, see 10 U.S.C. § 1107a and 21 U.S.C. § 360bbb-3 (collectively, the

“Informed Consent Laws”); (2) the substantive provisions of the Public

Health Service Act (“PHSA”), 42 U.S.C. § 262; (3) multiple provisions of


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the Administrative Procedure Act (“APA”), 5 U.S.C. § 551 et seq.; and (4)

the Defendants’ own rules and regulations.

      7.    Plaintiffs file this action seeking the following declaratory

relief and injunctive relief on behalf of themselves and similarly situated

Coast Guard class members.

      (1) Declare that the Defendants’ No Accommodation Policy violates
          services members’ rights under RFRA, the First Amendment
          Free Exercise Clause, and the Fifth Amendment Due Process
          Clause;

      (2) Declare the DoD Mandate and the Coast Guard Mandate to be
          unlawful and unconstitutional and to vacate these orders;

      (3) Enjoin the implementation or enforcement of the DOD Mandate
          and the Coast Guard Mandate by the Defendants with respect
          to the Plaintiffs and similarly situated Coast Guard members;
          and

      (4) Enjoin any adverse or retaliatory action against the Plaintiffs
          as a result of, arising from, or in conjunction with the Plaintiffs’
          RAR requests or denials, or for pursuing this action, or any
          other action for relief from Defendants’ constitutional,
          statutory, or regulatory violations.

      8.    Plaintiffs bring this action on their own behalf and as a class

action as representative parties on behalf of all members of the class and

subclasses defined herein under the provisions of Federal Rules of Civil

Procedure (the Rules) 23(a) and 23(b). See infra Section VII (“Class

Action Allegations”). Plaintiffs seek declaratory and injunctive relief,

and relief incident to it, including, damages, costs and attorney fees.




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      9.    Plaintiffs seek this relief pursuant to the APA, 5 U.S.C.

§§ 702 and 704; the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202;

the All Writs Act, 28 U.S.C. § 1651; and 42 U.S.C. § 1988.

                               PARTIES

      10.   Plaintiffs are members of the Coast Guard who are subject

to the DOD Mandate and the Coast Guard Mandate.

      11.   Plaintiff Michael Bazzrea is a Senior Chief Petty Officer

(SCPO – E-8) in the U.S. Coast Guard Reserve, currently serving at

USCG Station Galveston, TX, domiciled in Ardmore, (Carter County),

OK. Senior Chief Bazzrea enlisted in the Coast Guard in November of

1994, originally serving as a Machinery Technician (MK). Senior Chief

Bazzrea spent the last year of his active duty from 1997-98 as a

Deployable Tactical Law Enforcement officer serving in Central and

South America. Chief Bazzrea left active duty and became a law

enforcement officer, eventually becoming a federal air marshal in 2002,

in which he still serves. See Ex. 1, Decl. of SCPO Michael Bazzrea,

USCGR, ¶¶1-7.

      12.   Senior Chief Bazzrea continued in the Coast Guard Reserve

and became a Maritime Enforcement Specialist when the rate was

created after 9/11. Since then, he has served honorably for over 27 years,

most of it at USCG Base Galveston, with a 5-year tour at USCG Sector


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Houston from 2015-2020. Chief Bazzrea mobilized back to active-duty

multiple times over his career, including for Hurricanes Katrina, Rita,

Wilma, Elizabeth, and Harvey (among others), as well as for the

Deepwater Horizon Oil Spill, and Operation Enduring Freedom. Id.,

¶¶8-11.

      13.    Senior Chief Bazzrea caught and tested positive for Covid-

19 in July of 2021. In response to the Covid-19 vaccine mandate, Plaintiff

Bazzrea submitted an RAR, which was denied. Chief Bazzrea then filed

an appeal, which was also denied, and he was told that as soon as “FDA

approved” vaccine was available that he would be ordered to take it

“regardless of any civil rights complaints” that he might have. He was

ordered on July 6, 2022, to take the mRNA shot within 10 days.

          I stated in my appeal that I did not want to take the
          vaccine and that being forced to do so would put me in
          duress. However, I was ordered to do so regardless. An
          email was sent out from USCG District 8 Chief of Staff
          stating anyone with a denied RA appeal that had not
          received the vaccination would NOT be eligible for
          advancement or promotion and that this email would
          serve as official policy…I was told I would be facing
          removal from the advancement eligibility list and the
          inability to take positions such as silver or gold badge
          positions as well as separation from the Coast Guard.

Id., ¶¶12-17, 21.

      14.    Because it was his last chance at advancement to Master

Chief (E-9) and because that promotion makes a large financial


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difference in retirement to his family, Senior Chief Bazzrea “under great

duress, moral conflict, and now with great remorse” took the first shot in

order to become compliant “against [his] religious and personal beliefs.”

Id., ¶¶22.

      15.    Plaintiff Sabrina Wilder is an Operations Specialist, Second

Class (“PO2”) domiciled in Rosharon, TX, currently serving at Coast

Guard Vessel Traffic Service (VTS) Houston/Galveston. PO2 Wilder

enlisted in the Coast Guard in December 2016 and served aboard the

cutter USCGC Sockeye for her initial tour before completing “A” school.

After her next tour at Coast Guard Sector New England, South Portland,

ME, PO2 Wilder was given orders to her current station and moved to

Rosharon, TX. See Ex. 2, Decl. of PO2 Sabrina Wilder, USCG, ¶¶1-4.

      16.    In response to the Covid-19 vaccine mandate, in fall of 2021

Plaintiff Wilder notified her command that she would be submitting an

RAR and did so. On Sep. 20, 2021, the Director (of VTS) sent an email

regarding how active-duty Coast Guardsmen who sought exemption

would be treated. It said:

         NOTE: For both processes [medical or religious] we
         were told that you are still likely to be
         Administratively Separated if you receive either
         exemption. The exemption will just permit you to not
         receive the vaccine before you are out processed.
         Please do not think you will be allowed to continue to
         serve if you are exempted. This was the official


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         communication in the brief today with the Sector
         Commander, Chaplin, and Medical present.

      This email was followed by another one from the VTS Operations

Officer, LT Horstick confirming that “We got word on Friday that just

because someone gets an exemption for the vaccine, whether that be

religious or medical, does not mean they will not be discharged. The

exemption could change the level of discharge whether it be general or

honorable… but either way if they don’t get the vaccine, they will be

discharged.” Id., ¶¶6-7.

      17.   Despite being twice notified in writing that the process was

pointless, PO2 Wilder submitted her Religious Accommodation Request.

While it was pending, unvaccinated members were required to walk

around base with masks on, thus identifying them to the entire

command, and their liberty was restricted to no more than 50 miles from

base, while vaccinated service member had no such requirements.

Plaintiff’s RAR denial was returned in January 2022 and contained

obvious factual errors – for example, stating that she worked in “an

enclosed, classified space.” The VTS where Plaintiff worked is not a

classified space. Plaintiff appealed the denial and her appeal was also

denied on June 2, 2022. On June 15, 2022, PO2 Wilder was ordered to go

to the nearest Walgreen’s to receive the vaccine. She refused to do so and



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received a CG-3307 Counseling form telling her she is in violation of Art.

90 and Art. 92, UCMJ. PO2 Wilder has less than 8 years of service and

therefore does not rate discharge board; she can be summarily

discharged. Id., ¶¶8-11.

      18.   Plaintiff Aaron Cheatum is a First Class Petty Officer (PO1)

in the Coast Guard Reserve serving at USCG Station Galveston,

domiciled in Round Rock, TX. PO1 Cheatum enlisted in the Coast Guard

in June 2000, completed Quartermaster school, and was assigned to the

cutter USCGC Vashon in Puerto Rico for his first assignment. PO1

Cheatum’s last active duty assignement was at USCG Station Galveston

where he became qualified as a Search and Rescue (SAR) Coxswain and

a Boarding Officer. See Ex. 3, Decl. of PO1 Aaron Cheatum, USCGR,

¶¶1-6.

      19.   After 11 years of active duty and an end of tour award for

numerous lives saved during SAR operations, PO1 Cheatum joined the

Coast Guard Reserves in 2011. In response to the Covid-19 Mandate,

PO1 Cheatum submitted an RAR on Nov 29, 2021. PO1 Cheatum

received his denial on Jan. 31, 2022, noting that the Coast Guard did

“not question the sincerity of [his] religious belief or whether vaccine

requirements would substantially burden [his] religious practice.” By

then PO1 Cheatum had already had Covid-19 and tested positive for it


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on Jan. 28, 2022. PO1 Cheatum appealed his RAR denial and that appeal

was denied.

         On Jul. 8, 2022, facing a loss of earned retirement, loss
         of VA benefits, inability to advance in rank, loss of
         medical insurance, beinfg processed for discharge with
         a less than Honorable discharge after 22 years, and
         under duress, I violated my own religious conviction
         by receiving the initial Covid-19 vaccine.

Id., ¶¶7-12.

      20.      Plaintiff Timothy Jorden is a Maritime Enforcement

Specialist (Third Class) (“PO3”) in the Coast Guard domiciled in Houston

(Harris County), TX. He is currently assigned to the Maritime Safety and

Security Team (MSST), Houston, TX. Petty Officer (PO3) Jorden

originally enlisted in the Marine Corps in August of 2012 and served

honorably for 4 years as an infantryman, completing two 6-month,

Western Pacific deployments before being discharged in August 2016. He

enlisted in the Coast Guard in October 2016 and has been on active duty

in the Coast Guard since that time. See Ex. 4, Decl. of PO3 Timothy

Jorden, USCG, ¶¶2-4, 7.

      21.      PO3 Jorden submitted a Religious Accommodation Request

(RAR) in response to the Covid-19 Vaccine Mandate. He received his

initial denial on Dec. 03, 2021, and submitted a request for all of the

documentation pertinent to his denial on Dec. 09, 2021. He never



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received a response. He submitted his appeal to the RA denial on Dec.

17, 2021, in accordance with COMDTINST M1000.15 (series), which

required the Coast Guard to respond within 30 days of his appeal. He

received a form denial 5 months later that was identical to those of other

Coast Guard members he knows, despite being from different

commands. PO3 Jorden never heard back on his request for the

supporting documentation to be able to respond to in his appeal. Id., ¶¶8,

10, 12-15.

      22.    During the time of his RAR submission and appeal, PO3

Jorden has been restricted to within 50 miles of his base – in violation of

military law. (See cases cited, supra, note 2). PO3 Jorden had leave

approved to travel home to see his family on July 27, 2021, including his

elderly grandparents, but that leave was revoked under the authority

ALCOAST 285/21 released on Aug. 6, 2021, and PO3 Jorden’s appeal to

that decision was denied. This policy remained in effect until ALCOAST

131/22 on Apr. 7, 2022. Likewise, PO3 Jorden and others who were

unvaccinated were required to wear masks at work while the

“vaccinated” were not. On Sep. 13, 2021, PO3 Jorden was informed that

he was non-deployable because of his vaccination status. The very next

day he was notified that he would have to be a part of a Presidential

security detail and on Sep. 16, 2021, PO3 Jorden traveled across the


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country to complete that mission. During the pandemic, PO3 Jorden

completed 15 temporary duty assignments away from home for a total of

189 days, while simultaneously denied normal liberty and leave outside

of 50 miles of his assigned duty station. Plaintiff Jorden tested positive

for Covid-19 in January 2022 and was quarantined and returned to work

upon the completion of the quarantine period. Id., ¶¶18, 20.

      23.   Plaintiff Caleb Wadsworth is a Lieutenant (LT) in the U.S.

Coast Guard, domiciled in Joshua, Johnson County, TX, assigned to

USCG Sector/Air Station Corpus Christi, TX. LT Wadsworth is a Rotary

Wing Aeronautical Engineering Officer and an MH-65D pilot. He

graduated from the Coast Guard Academy in 2013 and completed flight

training in Pensacola, FL, after which he was assigned as a Search and

Rescue (SAR) pilot to Port Angeles, WA. Following that assignment, LT

Wadsworth was a SAR pilot in Kodiak, Alaska, and then flew national

security missions between the United States and Russia. While in

Kodiak, LT Wadsworth applied for and was selected to the USCG

Aeronautical Engineering program. See Ex. 5, Decl. of LT Caleb

Wadsworth, USCG, ¶¶2-4.

      24.   In response to the Coast Guard Mandate LT Wadsworth

submitted an RAR on Sep. 28, 2021. This initial RAR was denied on Dec.

2, 2021, while affirming that LT Wadsworth’s religious beliefs were


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“sincere.” LT Wadsworth submitted an appeal to that denial on May 17,

2022. LT Wadsworth was then officially counseled (via CG-3307 form) on

June 2, 2022, and ordered to report to the Corpus Christi Medical Clinic

by June 8, 2022, to receive a “fully FDA approved Covid-19 vaccine,”

under threat of punishment for violating Art. 90 and Art. 92, UCMJ.

         On this form I annotated that taking a COVID-19
         vaccine was against my well documented religious
         beliefs and that there was no FDA approved vaccine
         available for administration, which would negate the
         legality of the order to vaccinate… On 03 JUN2022, I
         reported to the Air Station Corpus Christi Clinic, as
         ordered, and documented what vaccines were
         available for administration….

         After talking with my flight doctor, Dr. DeArman, I
         learned that Air Station Corpus Christi did not have
         any COVID-19 vaccines. Dr. DeArman assisted in
         attempting to locate a vaccine by calling [nearby] NAS
         Corpus Christi clinic, but she was unable to locate an
         FDA Approved vaccine.

         On 06-07 June 20200, I visited four separate clinics in
         our area in an attempt to gain access to an FDA
         approved/labeled vaccine. At each clinic I had health
         care professionals document NDC’s and lot numbers
         for the vaccines they had in stock, all of which were
         labeled as EUA vaccines. These details were captured
         in photos, documented in memo format, signed by
         health care professionals and a witness, and
         forwarded to my commanding officer…

Id., ¶¶7-11.

      25.      LT Wadsworth went on to notify CG District 8 Legal and was

told that “these vaccines could be administered interchangeably and I


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was required to vaccinate with what was available or I would be in

violation of Article 90 and 92.” On June 8, 2022, LT Wadsworth receive

a negative counseling (CG-3307) that he “failed to report to the clinic as

ordered,” for his first shot. This was demonstrably untrue, yet Plaintiff

Wadsworth was counseled for violating both Art. 90 and 92. 3 LT

Wadsworth was told he is now no longer eligible to promote. LT

Wadsworth also offered less restrictive means to achieve the

government’s compelling interest, by providing proof of his natural

immunity from an infection on Aug. 11, 2021. Plaintiff LT Wadsworth

provided that information in his RAR appeal, as well. As a result of this,

LT Wadsworth was…

           treated poorly by my command and they flagrantly
           admitted to trying to coerce me into vaccinating, which
           was against my religious beliefs. I missed once in a
           lifetime family events, which my command admitted
           had nothing to do with health and safety, but was an
           attempt to encourage vaccination. These statements


3 Charging a service member who disobeys a General Order or Regulation
should only be charged as a single violation under Art. 92, UCMJ, under the
“ultimate offense doctrine.” Absent some truly unusual circumstances, the act
of disobedience cannot multiply a military accused’s criminality simply by the
highest order’s reissuance/repetition down the chain of command. See, e.g.,
Naval Justice School Crim Law Study Guide, Rev. 3/06, CR4.8, pp. 168-69
(“In general, this concept means that an accused should be punished for
underlying misconduct if there was a pre-existing order or duty, even though
he / she may have simultaneously disobeyed an order of a superior.”); and
cases cited therein. U.S. v. Quarles, 1 M.J. 231 (CMA, 1975).




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           and justifications were documented in official Coast
           Guard emails and voice recordings…

Id., ¶¶12-15.

         26.   Defendant DOD is an agency of the United States

Government. It is led by Secretary of Defense Lloyd Austin, III who is

sued in his official capacity.

         27.   Defendant FDA is an agency of the United States

Government. It is led by acting Commissioner Janet Woodcock, who is

sued in her official capacity.

         28.   Defendant DHS is an agency of the United States

Government. It is led by DHS Secretary Alejandro Mayorkas, who is

sued in his official capacity.

         29.   Defendant USCG is an agency of the United States

Government. It is led by USCG Commandant, Linda Fagan, who is sued

in here official capacity.

                      JURISDICTION AND VENUE

         30.   This case arises under federal law, namely, the First and

Fifth Amendments of the United States Constitution, U.S. Const.

Amends. I & V; RFRA, 42 U.S.C. §2000bb-1, et seq.; the APA, 5 U.S.C.

§ 551, et. seq.; 10 U.S.C. § 1107a; 21 U.SC. § 360bbb-3; and 42 U.S.C.

§ 262.



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      31.   The Court has subject matter jurisdiction pursuant to 28

U.S.C. § 1331 because this action arises under the United States

Constitution and federal law; 28 U.S.C. § 1346 because this is a civil

action against the United States; 8 U.S.C. § 1361 to compel an officer or

employee of the United States or any agency thereof to perform a duty

owed to the Plaintiff; and 42 U.S.C. § 2000bb-1(c) because Plaintiffs’

religious exercise has been burdened by Defendants.

      32.   This Court has authority to award the requested declaratory

relief pursuant to 28 U.S.C. §§ 2201 & 2202; the requested injunctive

relief pursuant to 28 U.S.C. § 2202; and costs and attorneys’ fees

pursuant to 28 U.S.C. § 2412 and 42 U.S.C. § 1988(b).

      33.   The challenged agency actions (i.e., DOD Mandate, Coast

Guard    Mandate,    DOD    Interchangeability    Directives,   and   No

Accommodation Policy) are final agency actions, as they mark the

consummation of the agency’s decision-making process with respect to

the DOD’s imposition of a vaccine mandate to which Plaintiffs are

subject. The DOD Mandate, Coast Guard Mandate, and DOD

Interchangeability Directive are ultra vires actions in violation of

Plaintiffs’ federal statutory rights, and to the extent these statutes do

not create a right of action, Defendants’ actions are agency actions for




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which there is no other adequate remedy in a court that may be brought

pursuant to the APA. 5 U.S.C. § 704.

        34.    Venue is proper in this Court pursuant to 28 U.S.C.

§1391(e)(1) and §1402(a)(1) because a number of the Plaintiffs are

domiciled or stationed in the Southern District of Texas. Other members

of the plaintiff class are aboard both Defendant DOD and DHS

reservations, stations, and ships in the court’s district subject to the DOD

and Coast Guard Mandates, and all members are directly affected by and

subject to its mandate to take experimental, EUA shots.

                        STATEMENT OF FACTS

I.      COVID-19 VACCINE MANDATES

        A.     COVID-19 Discovery and Public Health Emergency

        44.    On January 29, 2020, the White House Coronavirus Task

Force    was    established   to   oversee   and   coordinate   the   Trump

Administration’s response to COVID-19. On January 31, 2020, as a

result of confirmed cases of COVID-19, HHS Secretary Azar determined

that a public health emergency existed as of January 27, 2020, pursuant

to Section 319 of the PHSA, 42 U.S.C. § 247d et seq.

        B.     DOD MANDATE

        45.    On August 24, 2021, SECDEF issued the DOD Mandate,

directing the Secretaries of the Military Departments “to immediately



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begin full vaccination of all members of the Armed Forces … who are not

fully vaccinated against COVID-19.” Ex. 6, DOD Mandate, at 1. The

Secretary further directed that mandatory vaccination “will only use

COVID-19 vaccines that receive full licensure from the [FDA], in

accordance with FDA labeling and guidance,” and that vaccination

requirements are “to be implemented consistent with DoD Instruction

6205.02.” Id. The SECDEF Memo does not mention EUA or “BLA-

compliant” vaccines at all, much less mandate the administration of such

vaccines pursuant to the mandate.

      46.   The only service members expressly exempted are those

“actively participating” in vaccine trials, while “[t]hose with previous

COVID-19 infection are not considered fully vaccinated” and thus are not

exempted. Id.

      47.   On September 14, 2021, Assistant Secretary of Defense for

Health Affairs, Ms. Terry Adirim, directed the Surgeon Generals of the

Air Force, Army and Navy that, with respect to the Pfizer/BioNTech

COVID-19 vaccine, “health care providers should use doses distributed

under the EUA to administer the vaccination as if the doses were the

licensed [Comirnaty] vaccine.” Ex. 7, September 14, 2021 Adirim Memo,

at 1. On May 3, 2022, the DOD issued the same directive that EUA

Moderna COVID-19 vaccines were to be used interchangeably with, and


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“as if,” they were the FDA-licensed and labeled Moderna Spikevax

vaccine. See Ex. 8, May 3, 2022 Adirim Memo, at 1.

      C.    Coast Guard Mandate

      48.   On August 26, 2021, Commandant issued the Coast Guard

Mandate in ALCOAST Message 305/21, subject “MANDATING COVID-

19 VACCINATION FOR MILITARY MEMBERS” (the “Coast Guard

Mandate” or “ALCOAST 305/21”). See Ex. 9. The Coast Guard Mandate

incorporates the provisions of the DOD Mandate.

      49.   The Coast Guard Vaccine Mandate (incorrectly) claims that

“[t]he Pfizer-BioNTech COVID-19 was granted license by the Food and

Drug Administration (FDA) on 23 Aug 2021.” Id. The Coast Guard

Mandate directed all U.S. active-duty and Reserve personnel to become

“fully vaccinated” and claimed that “[v]accines are readily available at

Coast Guard clinics, military treatment facilities, and civilian healthcare

providers.” Id.

      D.    Medical and Administrative Exemptions

      50.   Commandant Instruction (COMDTINST) 6230.4 (series)

Immunizations and Chemoprophylaxis, establishes Coast Guard policy

and quality standards for immunization and chemoprophylaxis. See

Ex. 10 (“AR 40-562” or “COMDTINST 6230.4”). Paragraph 2-6 provides

for two types of exemptions from immunization requirements: medical


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and administrative. Among the numerous medical exemptions available

to service members, “evidence of immunity based on serologic tests,

documented infection, or similar circumstances” provide a basis for

medical exemption. The administrative exemptions available to service

members include those who are within 180 days of their separation or

retirement date and those who seek religious accommodation.

      E.    Disciplinary Actions for Vaccine Refusal

      51.   The Coast Guard Mandate states that “Commanding

Officers and leaders shall not commence administrative action or

disciplinary action based solely on a Service member’s decision to decline

vaccination until such implementing guidance is promulgated.”

ALCOAST 305/21, ¶7.

      52.   Defendant USCG followed with ALCOAST 315/21 on Sep. 7,

2021. This order made the claim that “[g]iven the need to safeguard the

workforce, and maintain readiness, the Coast Guard will determine

additional measures to mitigate health risks to members of the Service

and our communities posed by those who are not yet vaccinated. These

measures may include additional restrictions on official travel, liberty,

and leave, as well as cancellation of “A” and “C” school orders,” See Ex.

11, ALCOAST 315/21, ¶3 (emphasis added).

      53.   There is no evidence now, nor was there at the time of the


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issuance of the order, that unvaccinated servicemembers posed any

higher threat of transmission of Covid-19 to their communities or co-

workers than their “vaccinated” counterparts.

      54.   Defendant USCG’s message also asserted the following:

“This message constitutes a lawful general order. Failure to comply with

its provisions is a failure to obey a lawful order punishable under Article

92 of the Uniform Code of Military Justice (UCMJ). It may result in

punitive and/or administrative action, including the initiation of

discharge proceedings.” Id., at ¶7.

II.   RELIGIOUS  ACCOMMODATIONS    AND   SECULAR
      EXEMPTIONS FROM DOD MANDATE & USCG MANDATE

      A.    Defendants’ Religious Accommodation Request Rules
            and Procedures.

      55.   The DOD and the Coast Guard have adopted guidance,

procedures, and evaluation criteria for religious accommodation

requests. See generally Ex. 12, DOD Instruction 1300.17, “Religious

Liberty in the Military Services” (Sept. 1, 2020)(“DODI 1300.17”)(DOD-

wide procedures). DODI 1300.17 provides that it is DoD policy that

“[s]ervice members have the right to observe the tenets of their religion

or to observe no religion at all, as provided in this issuance.” Id. DODI

1300.17 further provides that, “DoD Components will accommodate

individual expressions of sincerely held beliefs … which do not have an



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adverse impact on military readiness, unit cohesion, good order and

discipline, or health and safety. A Service member’s expression of such

beliefs may not, in so far as practicable, be used as the basis of any

adverse personnel action, discrimination, or denial of promotion,

schooling, training, or assignment.” Id., ¶1.2.b. DODI 1300.17 further

provides that, “[i]n accordance with RFRA,” if a military policy

“substantially burdens a Service member’s exercise of religion,

accommodation can only be denied if” the policy “(1) … is in furtherance

of a compelling governmental interest, and “(2) It is the least restrictive

means in furtherance of that compelling governmental interest.” Id.,

¶ 1.2.e. With respect to appeals, DODI 1300.17 requires RAR appeals to

be submitted and routed through the chain of command. See DODI

1300.17, ¶ 3.2.f. Delegations outside of the chain of command are not

authorized.

      56.     The Coast Guard implemented RFRA and DODI 1300.17

through COMDTINST 1000.15, Military Religious Accommodation,

(“COMDTINST       1000.15”).   See    Ex.   13.   The   USCG    published

COMDTINST 1000.15 for the first time four days after it issued the

Coast Guard Mandate on August 30, 2021. COMDTINST 1000.15

provides that the Coast Guard’s policy “is to provide reasonable

accommodations to the observances of the religious faith practiced by


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individual members when these doctrines or observances will not have

an adverse impact on military readiness, individual or unit readiness,

unit cohesion, health, safety, discipline, or mission accomplishment.” Id.,

¶11.a.

      57.   The instruction also provides that “[a]ll requests for

accommodation must be reviewed and acted upon by the appropriate

approval authority and during the timelines outlines in Enclosure (1),

insofar as practicable and as operations allow.” Id., ¶ 11.a.(2).

      58.   The Coast Guard’s actual procedures applied to evaluate

RARs for COVID-19 vaccines differ from the published rules, based on

the experience and declarations of the 122 Plaintiffs who have submitted

RARs in this case.

      59.   The Coast Guard timeline for completion of the RAR states

that it will be returned to the member within 30 days. Id., at Encl 1.

After receiving a denial, the process is supposed to be, as follows:

      (1)    Unit commanders must inform the requesting member
      of the right to appeal the decision. Any notice of denial must
      inform members that they have the right to file an Equal
      Opportunity complaint by contacting a Civil Rights Service
      Provider within 45 calendar days of any denial.

      (2)   A member who has been denied a religious
      accommodation, in whole or in part, may submit a written
      appeal to the official in the chain of command or chain of
      supervision one level above the officer or official who took
      the final action on the request. The appeal must be routed


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      through the officer or official who denied the request. The
      appeal must include the specific basis on which the member
      believes the initial denial was in error.

      (3)   The appellate authority will either overturn or uphold
      the contested decision, in part or in full, within 30 days of
      the date of appeal for cases arising within the continental
      United States, and within 60 days for all other cases, if
      practicable and as operations allow.

Id., ¶12.j.

      60.     None of the 122 Plaintiffs who filed an RAR received their

response within the required 30-day deadline. Of those that took an

administrative appeal, none have received a response within the 30 days

required for the appeal; indeed, most waited for a response to their initial

RARs and appeals for more than 4 months.

      B.      Religious Accommodation Requests & Appeals.

      61.     This is largely in keeping with the same process that has

been observed throughout the military during the DoD Vaccine Mandate.

Evidence submitted in a related proceeding in another District, Navy

SEAL 1 v. Biden, No. 8:21-cv-02429-SDM-TGW (M.D. Fla.) (“Navy

SEAL 1 Proceeding”), conclusively demonstrates that the Armed

Services have systematically and willfully violated service members’ free

exercise rights under RFRA and the First Amendment. The Coast Guard

does not appear to have published up-to-date statistics on religious

accommodations requests, denials, and appeals. Accordingly, the Table


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below presents statistics provided by Defendants and the other Armed

Services in the Navy SEAL 1 Proceeding as of February 2022. See Ex.

14, Navy SEAL 1 v. Austin, No. 8:21-cv-2429-SDM-TGW (M.D. Fla. Feb.

4, 2022), “Third Notice of Compliance,” ECF 73 (“February 4, 2022

Compliance Notice”).

     Table 1: Religious Accommodation Requests & Appeals
Armed       Initial RA Requests   RA Appeals
Service     Filed Denied Approved Appeals Denied Approved
Air Force   12,623   3,180      5  2,221     443    1
Army         3,523    391       0    55        0    0
USCG         1,308    578       0   224        0    0
USCMC        3,539   3,458      0  1,150     119    3
Navy         4,095   3,728      0  1,222      81    0
Total       25,008 11,335       5  4,872     643    4

     62.    Courts elsewhere have concluded that the Defendant DOD’s

religious exemption process appears to be a “sham,” Navy SEAL 1 v.

Biden, No. 8:21-cv-2429, 2021 WL 5448970 (M.D. Fla. Nov. 22, 2021),

and a “quixotic quest” that amounts to little more than “theater.” Air

Force Officer v. Austin, --- F.Supp.3d ---, 2022 WL 468799, at *1 (M.D.

Ga. Feb. 15, 2022) (“Air Force Officer”) (citation omitted). In other

proceedings, other Armed Services have acknowledged that religious

accommodations granted were only for those service members who were




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imminently leaving service and/or who would otherwise qualify for

administrative exemption. 4

III.    COMPARISON OF EUA TREATMENTS WITH FDA-
        LICENSED AND LABELED COVID-19 TREATMENTS

        A.    FDA Emergency Use Authorization

        63.   The Food, Drug and Cosmetic Act (“FDCA”) authorizes the

FDA to issue an EUA for a medical drug, device, or biologic, where

certain conditions have been met. The conditions include a declaration

by the Secretary of Health and Human Services of a public health

emergency that justifies the use of an EUA, 21 U.S.C. § 360bbb-3(b)(1),

and a finding by the FDA that “there is no [1] adequate, [2] approved,

and [3] available alternative to the product for diagnosing, preventing,

or treating” the disease in question. 21 U.S.C. § 360bbb-3(c)(3).

        64.   There are significant differences between licensed vaccines

and those subject to EUA that render them “legally distinct.” Ex. 15,

August 23, 2021 Pfizer/BioNTech EUA Re-Issuance Letter, at 2 n.8.

First, the requirements for efficacy are much lower for EUA products

than for licensed products. In particular, rather than requiring an

applicant to prove that a vaccine is safe and effective (or potent) based


4See Navy SEAL 1 v. Austin, --- F.Supp.3d ---, 2022 WL 534459, at *19 (M.D.
Fla. Feb. 18, 2022) (“Navy SEAL 1”) (finding that Marine Corps RAR approvals
only granted to those on terminal leave). See also Poffenbarger v. Kendall, 2022
WL 594810, at *13 n.6 (S.D. Oh. Feb. 28, 2022) (“Poffenbarger”).


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on well-controlled clinical trials, mere speculation is sufficient to grant

an EUA. EUAs require only a showing that, based on scientific evidence

“if available,” “it is reasonable to believe,” the product “may be effective”

in treating or preventing the disease. 21 U.S.C. §360bbb-3(c)(2)(A).

Second, the safety requirements are minimal, requiring only that the

FDA conclude that the “known and potential benefits … outweigh the

known and potential risks” of the product, considering the risks of the

disease. 21 U.S.C. §360bbb-3(c)(2)(B). Third, EUA products are exempt

from certain manufacturing and marketing standards, enjoy broader

product liability protections, and cannot be mandated due to informed

consent laws and regulations.

      B.     Informed Consent Requirements for EUA Products

      65.    The FDA’s grant of an EUA is subject to statutorily

mandated informed consent requirements to “ensure that individuals to

whom the product is administered are informed” that they have “the

option to accept or refuse administration of the product.” 21 U.S.C.

§ 360bbb-3(e)(1)(A)(ii)(III).   For   the   COVID-19       vaccines,   FDA

implemented the “option to accept or refuse” condition in each letter

granting the EUA by requiring that FDA’s “Fact Sheet for Recipients and

Caregivers” be made available to every potential vaccine recipient. See,

e.g., FDA, “Fact Sheet for Health Care Providers Administering Vaccine


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(Vaccination Providers),” (Pfizer/BioNTech COVID-19 vaccine) at 14

(Aug. 23, 2021, revised July 8, 2022) (“Pfizer/BioNTech Fact Sheet”),

available at: https://www.fda.gov/media/153713/download (last visited

July 11, 2022).

      C.     FDA Vaccine Licensing and Approval

      66.    The FDCA generally prohibits anyone from introducing or

delivering for introduction into interstate commerce any “new drug,”

which includes “biological product” unless and until the FDA has

approved the drug or biological product as safe and effective for its

intended use. 21 U.S.C. §§ 331(a), 355(a).

      67.    Pursuant to Section 351(a) of the PHSA, 42 U.S.C. § 262(a),

the FDA has the authority to approve the sale and manufacture of

vaccines and other biologics like the Comirnaty and Spikevax vaccines.

The biologics application addresses not only the safety and efficacy of the

product,    but   also   covers   specific   labeling   and   manufacturing

requirements, including the manufacturing location, process, and

storage requirements.

      68.    The PHSA expressly prohibits the sale of any “biological

product” in interstate commerce “unless a biologics license application

[“BLA”] … is in effect for the biological product,” 42 U.S.C. § 262(a)(1)(A),

and the package is “plainly marked with” “the proper name of the


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biological product,” (e.g., Comirnaty or Spikevax) and “the name, address

and applicable license number of the manufacturer.” 42 U.S.C.

§ 262(a)(1)(B)(i)-(ii). These labeling requirements are mandatory, not

discretionary. See 21 C.F.R. § 610.60(a)(1)(2) (directing that the “proper

name” and “license number” “shall appear on the label” of biological

product); see also 21 C.F.R. § 207.37(a)(2) (a product is “deemed …

misbranded” if labeling codes used to “denote or imply FDA approval of

[an unapproved] drug”). EUA products, by contrast, must be marked as

such, and cannot include the license number.

      D.    Comirnaty Approval and EUA Re-Issuances

      69.   On August 23, 2021, the FDA approved the May 18, 2021,

Comirnaty application for individuals 16 years or older. The Comirnaty

Approval Letter approves the sale of Comirnaty Vaccine, as well as the

specific manufacturing facilities, processes, ingredients, storage, and

distribution requirements that were not addressed in the EUA

reissuances.

      70.   Also on August 23, 2021, the FDA re-issued the EUA for the

Pfizer/BioNTech Vaccine for individuals 16 years or older and for

children aged 12 to 15 years. The FDA extended and expanded the

existing EUA because Comirnaty was not available. Id., at 5 n.9. In

subsequent EUA re-issuances, the FDA has stated that the multiple,


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distinct formulations of the licensed and EUA vaccines may be used

interchangeably because they are “analytically comparable.” 5

        71.   On September 13, 2021, the National Institutes of Health

(“NIH”) posted an announcement by Pfizer that Pfizer “does not plan to

produce any product with these new [Comirnaty] NDCs and labels over

the next few months while the EUA authorized product is still available

and being made available for U.S. distribution.” See Ex. 16, NIH-Pfizer

Announcement of Comirnaty Unavailability. The FDA has subsequently

confirmed that Comirnaty remains unavailable in the United States. 6

        E.    Spikevax Approval and EUA Re-Issuance

        72.   On January 31, 2022, the FDA approved Moderna’s BLA for

Spikevax. Also on the same date, the FDA re-issued the EUA for the

Moderna COVID-19 vaccine, once again asserting that the “legally

distinct” EUA and licensed versions “can be used interchangeably”

because they have the “same formulation.” 7 And once again, as with


5See, e.g., FDA, Pfizer BioNTech EUA Re-Issuance Letter, at 16-17 (July 8,
2022) (“July 8, 2022 Pfizer/BioNTech EUA Re-issuance”), available at:
https://www.fda.gov/media/150386/download (last visited July 11, 2022).
6 See, e.g., FDA, Summary Basis for Regulatory Action – COMIRNATY, at 5
(Nov. 8, 2021) (“Nov. 8, 2021 Comirnaty SBRA”), available at:
https://www.fda.gov/media/151733/download (last visited July 11, 2022); July
8, 2022 Pfizer/BioNTech EUA Re-issuance at 12 & n 23.
7See FDA, Moderna EUA Reissuance Letter at 16 (June 17, 2022) (“June 17,
2022           EUA           Re-Issuance”),           available         at:
https://www.fda.gov/media/144636/download (last visited July 11, 2022).


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Comirnaty, the FDA noted that “there is not sufficient approved vaccine

available” for the eligible population. Id. at 8 n.13.

      F.    Legal Differences         Between      EUA   and   Licensed
            Vaccines

      73.   Defendants assert that licensed and EUA vaccines are

legally interchangeable for the purposes of the DOD Mandate, i.e., that

EUA vaccines may be legally mandated, notwithstanding the express

prohibition in 10 U.S.C. § 1107a.

      74.   The FDA has never asserted that the EUA and licensed

versions are legally interchangeable. The FDA’s EUA reissuance letters

have consistently acknowledged that the two vaccines are “legally

distinct.” See, e.g., Ex. 14, Aug. 23, 2021 EUA Re-Issuance Letter, at 2

n.8. The FDA’s witness in this proceeding confirmed that the FDA has

not made any “statutory interchangeability determination” and instead

described the products as only “medically interchangeable.” Ex. 17,

Marks Decl., ¶¶ 10-11. This simply means that one dose of an EUA

vaccine and one dose of a licensed vaccine may be used to administer a

two-dose vaccine regimen. See, e.g., Ex. 18, Congressional Research

Service, FDA Approval of the Pfizer-BioNTech COVID-19 Vaccine:

Frequently Asked Questions at 5 (Updated Sept. 29, 2021) (“CRS

Report”).



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      75.   The EUA is a “distinct regulatory pathway” under 21 U.S.C.

§ 360bbb-3 from FDA licensing under the PHSA. CRS Report at 1. For

FDA licensure under the PHSA, the applicant must satisfy the distinct

and higher statutory requirements regarding safety, purity, and potency

(or effectiveness), as well as distinct requirements for FDA approval of

biologics manufacturing and labeling that are not required for EUA

products. Accordingly, even if the EUA and licensed product had the

“same formulation” – and as discussed below there is evidence in the

record that they do not – the EUA version “is legally distinct and can be

manufactured, marketed, distributed and administered only pursuant to

the EUA.” Id. at 5. One of these key “legal distinctions” is that an FDA-

approved vaccine may be mandated, while an EUA vaccine may not be

without a signed Presidential authorization, which Defendant Austin

has neither requested nor received.

      76.   The publicly available information indicates that there are

differences in the composition of the EUA and licensed products. See,

e.g., Doe#1-#14 v. Austin, 2021 WL 5816632, at *3 n.5 (N.D. Fla. Nov. 12,

2021) (“Austin”). There is also no dispute that the FDA EUA did not

address manufacturing processes or locations, which are solely

addressed in the Comirnaty licensure. In any case, the FDA documents

severely understate the complexities of the novel mRNA vaccines and


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nanolipid delivery systems, which Pfizer has stated include “more than

280 materials,” rather than 10 or 11 disclosed in FDA filings, “made by

suppliers in 19 countries.” 8

IV.     SCIENTIFIC   EVIDENCE   AND    ADMINISTRATIVE
        ACTIONS FOR COVID-19 MRNA “VACCINES”

        A.    Novel Technology with Insufficient Clinical Trial
              Data

        77.   The Pfizer-BioNTech and Moderna COVID-19 treatments

employ novel technology, namely, mRNA delivered by nanolipids. These

products are considered “genetic vaccines” or “or vaccines produced from

gene therapy molecular platforms.” Ex. 19, McCullough Decl., ¶ 17. As

Dr. McCullough explains, the mRNA “vaccines” “have a dangerous

mechanism of action in that they all cause the body to make an

uncontrolled quantity of the pathogenic wild-type spike protein from the

SARS-CoV-2 …. This is unlike all other vaccines where there is a set

amount of antigen or live-attenuated virus.” Id. (emphasis added).

        B.    COVID-19 Vaccines Do Not Prevent Spread of
              Omicron.

        78.   None of the COVID-19 vaccines have “demonstrated in a

conclusive, randomized, placebo-controlled trial” that they “reduce the


8 Stephanie Baker & Vernon Silver, Pfizer Fights to Control Secret of $36
Billion Covid Vaccine Recipe, Bloomberg (Nov. 14, 2021), available at:
https://www.bloomberg.com/graphics/2021-pfizer-secret-to-whats-in-the-
covid-vaccine/ (last visited July 11, 2022).


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risk of Omicron infection or any of its complications.” Ex. 20, McCullough

Supp. Decl., ¶ 8. Further, “COVID-19 vaccinations do not impede the

chances that a person will transmit the [Omicron variant] to another

person.” Id., ¶ 9. This is because the spike protein produced by the

vaccines, which was developed using the original Alpha variant, has long

since become “obsolete” with the emergence of the Delta variant and

Omicron variants. See Ex. 19, McCullough Decl., ¶ 18 (Delta variant);

see also Ex. 20, McCullough Supp. Decl., ¶ 10 (Omicron variant).

      C.    Vaccine Injuries and Side Effects

      79.   The VAERS data reveal unprecedented levels of death and

other adverse events since the FDA issued EUAs for the three COVID

vaccines. The total safety reports in VAERS for all vaccines per year up

to 2019 was 16,320. By comparison, the total VAERS safety reports for

COVID-19 Vaccines “alone through October 1, 2021, is 778,683.” Ex. 19,

McCullough Decl., ¶ 27. Through April 2022, COVID-19 vaccination “has

led to more than 12,000 deaths and more than 13,000 permanently

disabled Americans.” Ex. 20, McCullough Supp. Decl., ¶ 17.

      80.   The COVID-19 vaccines pose a particular risk of myocarditis

(heart inflammation) to those who are in the prime ages for military

service. Ex. 19, McCullough Decl., ¶ 30. Due to these risks, in Dr.

McCullough’s expert medical opinion, “no individual under age 30 under


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any set of circumstances should feel obliged to take this risk with the

current genetic vaccines particularly the Pfizer and Moderna products.”

Id., ¶ 32. See also Ex. 20, McCullough Supp. Decl., ¶ 12 (discussing FDA

myocarditis warnings).

      D.    Superiority of Natural Immunity to Vaccination and
            Risks of Vaccination to Those with Naturally
            Immunity.

      81.   Numerous studies demonstrate the superiority of natural

immunity over vaccine-induced immunity. See generally Ex. 19,

McCullough Decl., ¶¶ 52-57 & studies cited therein. In Dr. McCullough’s

expert opinion, “SARS-CoV-2 causes an infection in humans that results

in robust, complete, and durable immunity, and is superior to vaccine

immunity.” Id., ¶ 53. Further, “there are no randomized placebo-

controlled … trials of COVID-19 vaccination … demonstrating any

clinical benefit” for those who have recovered from a previous infection.

Ex. 20, McCullough Supp. Decl., ¶ 12. There is, however, significant

evidence that those with previous infections face greater risks of adverse

reactions from the vaccines, as well as a greater rate and severity of

subsequent COVID-19 infections than those with previous infections

who remained unvaccinated. See id., ¶ 12 & studies cited therein; see

also Ex. 19, McCullough Decl., ¶¶ 49-51 & studies cited therein. Thus, in




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his expert opinion, “COVID-19 vaccination is contraindicated in COVID-

19 survivors.” Ex. 20, McCullough Supp. Decl., ¶ 12.

V.    PLAINTIFFS RELIGIOUS ACCOMMODATION REQUESTS

      A.    Plaintiffs’ Sincerely Held Religious Beliefs

      82.   All Plaintiffs have been found to have sincerely held

religious beliefs that compel them to request an exemption from the

Mandate. See, e.g., Ex. 3, Decl. of PO1 Aaron Cheatum, USCGR, p.3, ¶9.

      83.   Plaintiffs object to taking the gene therapies because all of

the existing “vaccines” used aborted fetal cell lines either in their

manufacturing or development. (See infra V.B). Some also feel that the

COVID-19 treatments alter God’s creation, i.e., their genetic codes or

immune system, in violation of God’s commandments

      84.   Plaintiffs also believe that the mandate is forcing them to

choose between God and country and/or following an unlawful and

unethical order. In at least 2 cases, Plaintiffs took the first shot under

duress because of the threats to the careers in the military. See, e.g., Ex.

1, Decl. of SCPO Michael Bazzrea, p. 5, ¶22; see also Ex. 3, Decl. of PO1

Aaron Cheatum, USCGR, p. 3, ¶12.

      B.    COVID-19 Vaccines Are Critically Dependent on, and
            Could Not Exist but for, the Use of Aborted Fetal Cell
            Tissue.

      85.   It is undisputed that HEK-293 and PER.C6 fetal cell lines



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were used in the development and testing of the three (3) available

COVID-19 vaccines. As reported by the North Dakota Department of

Health, in its handout literature for those considering one of the COVID-

19 vaccines, “[t]he non-replicating viral vector vaccine produced by

Johnson & Johnson did require the use of fetal cell cultures, specifically

PER.C6, in order to produce and manufacture the vaccine.” 9 The

Louisiana Department of Health likewise confirms that the Johnson &

Johnson COVID-19 vaccine used the PER.C6 fetal cell line, which “is a

retinal cell line that was isolated from a terminated fetus in 1985.” 10

        86.   The same is true of the Moderna and Pfizer-BioNTech

mRNA vaccines. The Louisiana Department of Health’s publications

again confirm that aborted fetal cells lines were used in the “proof of

concept” phase of the development of their mRNA vaccines. See id. The

North Dakota Department of Health likewise confirms: “fetal cells were

used for ‘proof of concept’ (to demonstrate how a cell could take up mRNA



9See North Dakota Health, COVID-19 Vaccines & Fetal Cell Lines (Oct. 5,
2021) (“NDH FAQ”), available at:
https://www.health.nd.gov/sites/www/files/documents/COVID%20Vaccine%20
Page/COVID-19_Vaccine_Fetal_Cell_Handout.pdf (last visited July 11, 2022).
10La. Dept. of Public Health, You Have Questions, We Have Answers: COVID-
19 Vaccine FAQ (Dec. 21, 2020), available at:
https://ldh.la.gov/assets/oph/Center-PHCH/Center-
PH/immunizations/You_Have_Qs_COVID-19_Vaccine_FAQ.pdf (last visited
July 11, 2022)


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and produce the SARS-CoV-2 spike protein) or to characterize the SARS-

CoV-2 spike protein.” See NDH FAQ. Multiple Pfizer executives have

confirmed both that aborted fetal cells were critical for development,

while at the same time trying to cover this up this essential fact. 11

      C.     Plaintiffs’ RARs and Appeals Have Been Denied with
             “Magic Words,” Rather Than Individualized
             Assessments.

      87.    Every Plaintiff has had their initial RAR request denied with

two exceptions, who have simply never heard back on their request.

Moreover, Defendants have “rubber stamped” denials on Plaintiffs’ RAR

requests and/or appeals using the same “magic words,” formulaic

language, and theoretical speculation, without any individualized

evaluation “to the person” required by RFRA or consideration of mission

impact required by service regulations.

      88.    That is for those who actually get their RAR denial back;

many, such as Plaintiff LTJG Reynolds and PO3 Jorden, get nothing

more than an email telling them that their RAR has been denied and

that they will have to request their RAR using the Freedom of



11 See Project Veritas, PFIZER LEAKS: Whistleblower Goes On Record,
Reveals Internal Emails from Chief Scientific Officer & Senior Director of
Worldwide Research Discussing COVID Vaccine ... ‘We Want to Avoid Having
the Information on the Fetal Cells Floating Out There’, (Oct. 6, 2021), available
at: www.projectveritas.com/news/pfizer-leaks-whistleblower-goes-on-record-
reveals-internal-emails-from-chief/ (last visited Feb. 8, 2022).


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Information Act (FOIA) process. 12 See, e.g., supra ¶¶15, 19.

      89.    The Coast Guard’s RAR appeal denial letters are nearly

identical form letters. Multiple Plaintiffs (from different commands)

have compared their letters and found the same form denials. See, e.g.,

Decl. of PO3 Jorden & supra ¶ 15.

      90.    No person’s individual circumstances were “taken into

consideration” in any meaningful sense. The appeals are being

categorically denied without any particularized review, as required by

RFRA and the First Amendment. These form letters end the careers of

Coast Guardsmen who have devoted their adult lives to serving the

United States. They deserve better, and at a minimum what the law

requires.

      91.    Regarding the government Defendant’s burden to consider

the least restrictive means to accomplish their “compelling government

interest,” Defendant’s ALCOAST orders specifically ignore Plaintiffs

with previous documented infections and all of the massive data and

scientific evidence supporting “natural immunity,” either on its own or

in combination with other alternative restrictions (e.g., testing &

quarantine, masking, social distancing) that would provide a less


12It is Plaintiffs’ legal position that Defendant’s refusal to provide their own
RAR paperwork is also illegal and an egregious abuse of the FOIA process.


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restrictive means of achieving the Coast Guard’s compelling government

interests.

         92.   Additionally, as Plaintiff Jorden’s declaration shows, the

supposed “compelling government interest” in “health and safety” of the

“unvaccinated” instantly evaporates when its suits the government’s

purposes. Plaintiff Jorden has his leave and liberty restricted as a

general matter, and was told he was non-deployable, but the very next

day when his particular expertise was necessary to support missions

around the country, including a Presidential protective detail, his

“threat” to others instantly evaporated. This is just one instance of many

showing that the entire framework and claims about the unvaccinated

are nothing more than facade.

         93.   Alternative “Ethical” Vaccines. Some Plaintiffs are

willing to take an alternative, traditional vaccine that is fully licensed to

which they do not have religious objections. However, to do so at this

time would require the Plaintiffs to take leave and conduct international

travel at their own expense as no such alternatives are currently

available in the United States. Covaxin, for example, is only available in

India.

         94.   Defendants’ dismissive treatment of Plaintiffs request to

accommodate their sincerely held religious beliefs is consistent with


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their treatment of tens of thousands of other service members. The

Plaintiffs’ experience as a cohort, and the Defendant’s own record of

denials, demonstrate that it has granted, at most, a few dozen (and

significantly less than 1%) of RARs—though the number of actual

religious   accommodation    requests     approved   (i.e.,   rather   than

administrative exemptions that are mischaracterized as religious

accommodations) appears to be zero—while denying thousands. See

supra ¶¶ 45-46. These statistics demonstrate that (1) submissions of

religious accommodation requests are futile and (2) that the DOD and

Coast guard are systematically denying these requests, in violation of

their statutory obligations and the constitutional rights of Plaintiffs.

Plaintiffs note that the Air Force and Marine Corps purport to have

granted a handful of requests and appeals, however, these RARs appear

to have been granted to those on terminal leave or conditioned upon their

separation from the military. See Navy SEAL 1, 2022 WL 534459, at *19

(Marine Corps approvals); Poffenbarger, 2021 WL 594810, at *13 n.6 (Air

Force approvals). Thus, even the exceptions to the general policy of

denying them all demonstrate that the process is a sham because the

result is that no service member will be granted any accommodation and

allowed to continue their service.




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VI.   PLAINTIFFS  WILL   SUFFER  CONCRETE  AND
      PARTICULARIZED   HARM   FROM  DEFENDANTS’
      ACTIONS

      95.   Plaintiffs have real, substantial, and legitimate concerns

about taking experimental COVID-19 treatments in light of, and the

potential for, short- and long-term side effects and adverse reactions.

      96.   Involuntary Separation & Forced Retirement. Each

Plaintiff has suffered severe adverse employment, administrative, and

disciplinary actions. Plaintiffs are in the process of involuntary

separation, forced retirement (or constructive discharge), or dismissal

and will soon face a Board of Inquiry or Administrative Separation Board

to determine their discharge status, or other disciplinary proceedings.

      97.   Removal from Senior or Leadership Positions. Due to

their vaccination status and/or vaccination status, some Plaintiffs have

been relieved of senior or leadership positions or denied promotion. See

Ex. 5, Decl. of LT Caleb Wadsworth, USCG.

      98.   Duty, Promotion & PCS Restrictions. Plaintiffs are

restricted from travel, training to maintain qualifications for their

current positions, qualifying for promotion, taking new assignments and

permanent change of station (“PCS”) (i.e., moving to new duty stations).

Some are being subjected to the proverbial administrative “soft kill” by

removing    them    from   operational/deploying    commands/units        or


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promotion to the next grade. While it has been determined the court

cannot tell the Navy or DOD who is or is not deployable, the actions

taking place remain punitive to the Plaintiffs as these are milestone

billets in their careers that must be completed in order to be competitive

in advancement and selection boards. Defendants have yet to provide a

plan of action to prevent such negative actions against the

servicemembers who have refused the unlawful orders and are to be

protected under the class action injunction of Navy SEALs 1-26.

      99.    Letters of Reprimand or Counseling. Plaintiffs have

received one or more letters of reprimand, or other paperwork that will

adversely affect their discharge status, and due to their vaccination

status

      100.   Loss of Pay and Benefits. Plaintiffs will also face

substantial financial losses in terms of lost pay and benefits due to

separation, dismissal and early retirement.

      101.   Adverse Actions for Refusal to Take EUA Vaccines.

Further, Plaintiffs have objected to the mandate based on the

unavailability   of   any   FDA-licensed    vaccines,   the   subsequent

requirement to take a non-FDA-licensed EUA vaccines, and/or the

fraudulent misrepresentation of non-FDA-licensed EUA vaccines as

FDA-licensed vaccines. As a result, they received disciplinary action as


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precursor to involuntary separation for their refusal to take a non-FDA-

licensed vaccine. In addition, the Coast Guard has mandated weekly

testing for certain Plaintiffs, without regard to health status or

symptoms and in contradiction to the CDC recommendation that tests

should only be used once symptoms are present.

       102.   Defendants have a long history of ignoring and violating

service members’ informed consent rights as they seek to do here, and it

is the role of federal courts to protect service members’ rights just as the

protect ours: “the United States cannot demand that members of the

armed forces also serve as guinea pigs for experimental drugs.” John

Doe #1 v. Rumsfeld, 297 F.Supp.2d 119, 135 (D.D.C. 2003)

(“Rumsfeld I”). The injury is exacerbated by the fact that the government

not only seeks to deprive them of their informed consent rights, both

through deception and coercion, but also to take their freedom and

livelihoods for having the temerity to exercise the rights granted to them

by statute and the U.S. Constitution and courage to fulfill their duty to

disobey unlawful orders.

VII.   CLASS ACTION ALLEGATIONS

       103.   Plaintiffs bring this action on their own behalf and as a class

action as representative parties on behalf of all members of the class and

subclasses defined herein under the provisions of Federal Rules of Civil


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Procedure (the Rules) 23(a) and 23(b). Plaintiffs seek declaratory and

injunctive relief, and relief incident to and subordinate to it, including

costs and attorney fees. A class action is appropriate because, as shown

below: (a) the class is so numerous that joinder of all members is

impracticable, (b) there are questions of law and fact common to the

class, (c) the claims of the Plaintiffs are typical of the claims of the class,

and (d) the representative parties will fairly and adequately protect the

interests of the class.

      104.   Definition of the Class.           The class represented by

Plaintiffs in this action, and of which Plaintiffs are themselves members,

consists of active duty and Reserve Coast Guard Members who are (1)

subject to the DOD Mandate and the Coast Guard Mandate; and (2) who

have requested religious accommodation or medical exemption from the

DOD and Coast Guard Mandates.

      105.   Natural Immunity Sub-Class. Plaintiffs also include the

sub-class of Coast Guard members are those who have had COVID yet

been denied exemption from receiving the vaccine because of natural

immunity, a decision contrary to the DoD policy expressed in all Services’

vaccine regulations, AR 40-562, as well as the weight of scientific

evidence. Numerous studies have shown that taking the new vaccine

after having COVID increases the risk of dangerous side effects and


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lowers immunity to the disease.

      Plaintiffs Satisfy FRCP Rule 23(a)

      106.     Definition of the Class.      The class represented by

Plaintiffs in this action, and Numerosity. The exact number of the class

and subclasses identified above is not known at this time, but the

Defendants have that information. There are over 120 named Plaintiffs,

and Plaintiffs estimate that there are thousands of class members. The

class is so numerous that joinder of individual members in this action is

impractical.

      107.     Commonality. There are common questions of law and fact

involved in this action that affect the rights of each member of the class

and the relief sought is common to the entire class. The specific claims

of Plaintiffs and similarly situated Coast Guard class members are

detailed below in the First through Fifth Causes of Action.

      108.     Plaintiffs’ Claims Are Typical of the Proposed Classes.

The claims of the Plaintiffs, who are representatives of the class, are

typical of the claims of the class in that the claims of all members of the

class, including Plaintiffs, depend on a showing of the Defendants ’ acts

and omissions giving rise to the Plaintiffs’ right to the relief sought.

There is no conflict between any individual named Plaintiff and other

members of the class with respect to this action, or with respect to the


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claims for relief set forth in this complaint. The class has similar injuries

flowing from the Defendants’ unlawful and unconstitutional actions.

      109.   The named Plaintiffs are the representative parties for the

class, are able to and will, fairly and adequately protect the interests of

the class. The Plaintiffs’ declarations in show they adequately represent

the various statuses of the class, i.e., all Services, active, reserve,

National Guard. The attorneys for Plaintiffs actively conduct and be

responsible for Plaintiffs’ case. The lead attorney, Dale Saran, is an

experienced class action attorney.        The named Plaintiffs and their

undersigned counsel will fairly and adequately protect the interests of

the class.

Plaintiffs Satisfy FRCP Rule 23(b)(1) and 23(b)(2)

      110.   Definition of the Class.          The class represented by

Plaintiffs in this action, and This class action is maintainable under Fed.

Rule of Civil Procedure (the “Rules”) 23(b) because it satisfies the

prerequisites of Rule 23(a) and the following conditions of Rule 23(b):

          (1) the prosecution of separate actions by individual
      members of the class would create a risk of :

            (A) inconsistent or varying adjudications with respect
      to individual members of the class that would establish
      incompatible standards of conduct for the Defendants, all of
      whom oppose the class; or

             (B) adjudications with respect to individual members
      of the class which would, as a practical matter, be dispositive


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      of the interests of the other members not parties to the
      adjudications or substantially impair or impede their ability
      to protect their interests; and/or

            (2) the party opposing the class has acted and refused
      to act on grounds generally applicable to the class, as more
      specifically alleged below, on grounds which are generally
      applicable to the class, thereby making appropriate final
      injunctive relief or corresponding declaratory relief with
      respect to the class as a whole which this action seeks.

      111.   The findings required by Rule 23(b)(1) and (2) are supported

by the fact there is a large class of chaplains against whom the Secretary

and the Armed Forces have operated in a systematic discriminatory

manner violating the Constitution, federal statutes, and the Defendants’

own regulations. The declaratory and injunctive relief sought will affect

all persons who have experienced the alleged retaliation discrimination.

Furthermore, the constitutional and federal questions Plaintiffs raise

dominate this action and apply to all members of the class. If Plaintiffs

are successful, any individual relief that is incidental to this action will

be determined by statute and require little if any involvement by the

Court. Additional considerations that support certification under

23(b)(1) and/or 23(b)(2) include:

      a.     Inconsistent or varying adjudications with respect to

      individual   class   members        could   subject   Defendants   to

      incompatible standards of conduct;




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      b.     The Court’s adjudication of the claims raised herein on

      behalf of the Named Plaintiffs alone would, as a practical matter,

      be dispositive of the interests of the other members not party to

      such individual adjudications and could leave those other

      members without the ability to protect their own interests;

      c.     The Defendants have acted or refused to act on grounds that

      apply generally to all members of the proposed Classes such that

      final injunctive or declaratory relief would be appropriate

      respecting each of the proposed Classes; and finally,

      d.     The issues here are primarily constitutional and statutory

      which involve no exercise of military discretion or expertise

                      FIRST CAUSE OF ACTION
VIOLATION OF RELIGIOUS FREEDOM RESTORATION ACT
                         42 U.S.C. § 2000bbb, et seq.

      112.   Plaintiffs reallege, as if fully set forth in this Count, the facts

in Paragraphs 10-20, Section I (¶¶ 28-38), Section II (¶¶ 39-46), Section

IV (¶¶ 61-64), Section V (¶¶ 66-78), Section VI (¶¶ 88-96), and Section

VII(¶¶ 97-105).


      113.   RFRA was enacted “in order to provide very broad protection

for religious liberty.” Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct.

2751, 2760 (2014) (“Burwell”). “Congress mandated that this concept be




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‘construed in favor of a broad protection of religious exercise, to the

maximum extent permitted by the terms of this chapter and the

Constitution.’” Burwell, 134 S. Ct. at 2762 (quoting 42 U.S.C. § 2000cc-

3(g)).


         114.   RFRA states that “Government shall not substantially

burden a person’s exercise of religion even if the burden results from a

rule of general applicability.” 42 U.S.C. § 2000bb-1(a). The government

burdens religion when it “put[s] substantial pressure on an adherent to

modify his behavior and to violate his beliefs,” Thomas v. Rev. Bd. of Ind.

Emp’t Sec. Div., 450 U.S. 707, 718 (1981), or “prevents the plaintiff from

participating in an activity motivated by a sincerely held religious

belief.” Davila v. Gladden, 777 F.3d 1198, 1204 (11th Cir. 2015) (citation

and quotation omitted). “That is especially true when the government

imposes a choice between one’s job and one’s religious belief,” Navy

SEALs 1-26, at *9 (citing Sherbert v. Verner, 374 U.S. 398 (1963)).

         115.   If the Government substantially burdens a person’s exercise

of religion, it can do so only if it “demonstrates that application of the

burden to the person – (1) is in furtherance of a compelling

governmental interest; and (2) is the least restrictive means of furthering

that compelling governmental interest.” 42 U.S.C. § 2000bb-1(b)



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(emphasis added). This means that strict scrutiny must be satisfied both

for the “the asserted harm of granting specific exemption to particular

religious claimants,” and of “the marginal interest in enforcing the

challenged government action in that particular context.” Burwell, 573

U.S. at 726-27. See also O Centro Espirita Beneficiente Uniao do Vegetal,

546 U.S. 418, 430 (2006) (“O Centro”) (the Government must

“demonstrate that the compelling interest is satisfied through the

application of the challenged law ‘to the person’—the particular claimant

whose sincere exercise of religion is being substantially burdened”).

      116.   “RFRA expressly creates a remedy in district court,” Navy

SEAL 1, 2022 WL 534459, at *13, granting a “person whose religious

exercise has been burdened in violation of” RFRA to “assert that

violation as a claim or defense in a judicial proceeding and obtain

appropriate relief against the government.” 42 U.S.C. § 2000bb-1(c).

      117.   RFRA applies to Defendants, as they constitute a “branch,

department, agency, instrumentality, and official of the United States.”

42 U.S.C. § 2000bb-2(1). Further, “RFRA includes no administrative

exhaustion requirement and imposes no jurisdictional threshold. No

exemption, whether … express or implied, insulates the military from

review in the district court.” Navy SEAL 1, at *13.




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      118.    Defendants have substantially burdened Plaintiffs’ free

exercise rights because the mandate forces Plaintiffs to “decide whether

to lose their livelihoods or violate sincerely held religious beliefs.” Navy

SEALs 1-26, at *9. “By pitting their consciences against their livelihoods,

the vaccine requirements would crush Plaintiffs’ free exercise of

religion.” Navy SEALs 1-26 Stay Order, 2022 WL 594375, at *9.

      119.    Defendants’     religious    exemption     regulation,    and

implementation thereof, is neither neutral nor generally applicable

because      it   treats   comparable     secular   activity—medical    and

administrative exemptions—more favorably than religious exemptions.

While the Coast Guard does not publish up-to-date statistics, they have

not granted a single one of 122 Plaintiffs’ RARs, and the statistics

available indicate that Defendants have refused to grant any religious

accommodations for those who will continue to serve. See supra ¶¶ 45-46

& Table 1.

      120.    Plaintiffs have presented prima facie—and undisputable—

evidence that Defendants have substantially burdened their exercise of

religion, which triggers strict scrutiny where the government bears the

burden of proving that its policies satisfy strict scrutiny. O Centro, 546

U.S. at 429. “Because the mandate treats those with secular exemptions

more favorably than those seeking religious exemptions, strict scrutiny


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is triggered.” Navy SEALs 1-26, at *9. RFRA thus presents a “high bar”

to justify substantially burdening free exercise, and “[t]his already high

bar is raised even higher [w]here a regulation already provides an

exception from the law for a particular group.” Navy SEALs 1-26 Stay

Order, at *10 (citations and internal quotations omitted). Defendants fail

to meet this high bar for either of the two prongs of the strict scrutiny

analysis.

      121.   While    “[s]temming     the   spread    of   COVID-19       is

unquestionably a compelling interest,” Cuomo, 141 S. Ct. at 67, “its

limits are finite.” Navy SEALs 1-26, at *10. The government cannot rely

on “broadly formulated interests,” like “public health” or “military

readiness,” and must justify its decision by “scrutinize[ing] the asserted

harm of granting specific exemptions to particular religious claimants.”

Hobby Lobby, 573 U.S. at 726-27.

      122.   Moreover, the actions taken against the unvaccinated bear

no relation to the asserted goal. The unvaccinated with natural

immunity are far less likely to transmit the virus, or to be reinfected, yet

the Defendant’s continue to ignore this and parrot demonstrably false

data as the basis for ignoring the Plaintiffs’ claims and rights.

      123.   Defendants’ “broadly formulated interest in national

security,” Navy SEALs 1-26, at *10, will not suffice. Nor will simply


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invoking “magic words” like “military readiness and health of the force.”

Navy SEAL 1, at *17 (quoting Davila, 777 F.3d at 1206). Instead,

Defendants must produce “record material demonstrating that the

military considered both the marginal increase, if any, in the risk of

contagion incurred by granting the requested exemption and the

marginal detrimental effect, if any, on military readiness and the health

of the force flowing from the … denial” of the specific Plaintiff’s

exemption request. Navy SEAL 1, at *15.

      124.   As in Navy SEAL 1, Defendants have manifestly failed to

demonstrate that they have a compelling governmental interest in

denying Plaintiffs’ RARs and appeals. Instead, they have relied on

“magic words” to “rubber stamp,” see Navy SEAL 1, *18, in their blanket

denials of Plaintiffs’ RAR and appeal denial letters, see supra ¶¶ 71-78

(summarizing formulaic and deficient analysis in Plaintiffs’ RAR and

appeal denial letters), just as they have tens of thousands of other service

members.

      125.   Nor have Defendants demonstrated that their blanket

denials of Plaintiffs’ religious exemptions are the least restrictive means

of furthering that interest. These letters both ignore Defendants’ own

successful use of alternatives to vaccination over the past two years (e.g.,

masking, testing, quarantine, social distancing), but also those proposed


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by Plaintiffs that are specifically adapted to their specific role, unit,

vessel, or mission and the evidence presented that these measures have

enabled them to successfully perform their missions and roles without

vaccination.

      126.    More than 90 of the 127 Plaintiffs have documented previous

COVID-19 infections from which they have fully recovered, in many

cases, quite recently. Such natural immunity from previous infections

provides stronger and longer-lasting protection than the vaccines. See

supra ¶ 65.

      127.    Yet   the   Defendant’s    denial   letters   dismiss   natural

immunity—“reaching disputed medical conclusions without evaluation

or citation of medical or legal authority,” Navy SEAL 1, at *16 & n.10—

combined with Plaintiffs’ proposed less restrictive alternatives that have

been successfully employed in the past without acknowledgement or

discussion. See id. at *18-19. Just as in Air Force Officer, Defendants’

conclusory assertions fail to show that “COVID-19 vaccine[s] … provide

more sufficient protection” than Plaintiffs’ “natural immunity coupled

with other preventive measures,” nor have they shown “vaccination is

actually necessary by comparison to alternative measures, since the

curtailment of free [exercise] must be actually necessary to the solution.”




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 Air Force Officer, 2022 WL 468799, at *10 (citation and quotation

 omitted).

       128.   Finally, Defendants cannot satisfy either prong of strict

 scrutiny—compelling government interest or least restrictive means—

 by mandating 100% vaccination with a vaccine that is known to be

 ineffective and obsolete. The government’s strict scrutiny analysis is

 highly fact intensive, and the individualized assessment prescribed by

 Burwell and Navy SEAL 1, requires the government to perform a

 marginal cost vs. benefit analysis that takes into account the current

 costs and benefits from granting specific exemptions.

       129.   Plaintiffs seek declaratory and injunctive relief because they

 have no adequate remedy at law to prevent future injury caused by

 Defendants' violation of their right under RFRA to the free exercise of

 religion.

                      SECOND CAUSE OF ACTION
VIOLATION OF FIRST AMENDMENT FREE EXERCISE CLAUSE
                            U.S. CONST. AMEND. I

       130.   Plaintiffs reallege, as if fully set forth in this Count, the facts

 in Paragraphs 10-20, Section I (¶¶ 28-38), Section II (¶¶ 39-46), Section

 IV (¶¶ 61-64), Section V (¶¶ 66-78), Section VI (¶¶ 88-95), and Section

 VII(¶¶ 96-105).

       131.   The First Amendment’s Free Exercise Clause provides that


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“Congress shall make no law respecting an establishment of religion or

prohibiting the free exercise thereof.” U.S. CONST. AMEND. I.

      132.   “Government is not free to disregard the First Amendment

in times of crisis.” Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.

Ct. 63, 69 (2020) (“Cuomo”) (Gorsuch, J., concurring). “Even in a

pandemic, the Constitution cannot be put away and forgotten.” Cuomo,

141 S. Ct. at 68 (per curiam). Just as “[t]here is no COVID-19 exception

to the First Amendment,” there is “no military exclusion from our

Constitution.” Navy SEALs 1-26, at *1.

      133.   Governmental regulations that are not neutral or generally

applicable “trigger strict scrutiny” when “they treat any comparable

secular activity more favorably than religious exercise.” Tandon v.

Newsom, 141 S. Ct. 1294, 1296 (2021) (emphasis in original) (citing

Cuomo, 141 S. Ct. at 67-68). “A law is not generally applicable if it invites

the government to consider the particular reasons for a person’s conduct

by providing a mechanism for individualized exemptions.” Fulton v. City

of Phila., 141 S. Ct. 1868, 1877 (2021).

      134.   Plaintiffs submitted religious exemption requests, stating

that their religious beliefs prohibited them from receiving the available

COVID-19 vaccines because of their sincerely held religious beliefs that,

among other things, abortion is an abomination and because the aborted


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fetal cells were critical to the development of the vaccines, they refuse to

participate or support this evil.

      135.   Defendants have denied the RAR of each Plaintiff, and the

RAR appeal of all but one. In issuing these denials, Defendants

unlawfully denied Plaintiffs’ requests for accommodation of their

sincerely held religious beliefs.

      136.   Defendants’ No Accommodation Policy is neither neutral nor

generally applicable because they “single out … for harsh[er] treatment,”

Cuomo, 141 S. Ct. at 66, those who choose to remain unvaccinated for

religious reasons than those who seek to remain unvaccinated for secular

reasons. The Navy’s statistics on the number of exemptions granted

speak for themselves, with thousands of medical and administrative

exemptions granted, compared to a mere handful of religious

accommodations for service members who will not remain in the service.

“No matter how small the number of secular exemptions by comparison,

any favorable treatment … defeats neutrality.” Navy SEALs 1-26, at *

11 (emphasis in original).

      137.   Having established that Defendants’ policies are not neutral

and substantially burden Plaintiffs’ exercise of religion by treating those

seeking exemption from vaccination based on sincerely held religious

beliefs less favorably than those seeking exemption for secular reasons,


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the burden of proof switches to Defendants who must demonstrate that

their policies satisfy strict scrutiny, meaning that they must be (1)

“narrowly tailored” (2) “to serve a compelling [government] interest.”

Cuomo, 141 S. Ct. at 67 (citing Church of Lukumi Babalu Aye, Inc. v.

Hialeah, 508 U.S. 520, 546 (1993)).

      138.   Defendants’ religious exemption policies fail to satisfy strict

scrutiny under the First Amendment for largely the same reasons they

fail strict scrutiny under RFRA. See, e.g., Navy SEALs 1-26, at *11; Air

Force Officer, at * 11-12. The DOD Mandate, as a policy and as applied

to Plaintiffs, fails to accommodate Plaintiffs’ sincerely held religious

beliefs. There is no interest, compelling or otherwise, for Defendants to

deny Plaintiffs’ religious exemptions or threaten not to accommodate

Plaintiffs’ sincerely held religious beliefs. Nor have Defendants chosen

the least restrictive means of achieving any compelling governmental

interest and, in fact, have dismissed and uniformly denied Plaintiffs’

alternative, less restrictive mitigation measures. Accordingly, the DOD

Mandate, and the Defendants’ religious accommodation policies and

procedures, cannot survive strict scrutiny.

      139.   Plaintiffs seek declaratory and injunctive relief because they

have no adequate remedy at law to prevent future injury caused by

Defendants' violation of their First Amendment right to the free exercise


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of religion.

                        THIRD CAUSE OF ACTION
VIOLATION OF FIFTH AMENDMENT DUE PROCESS CLAUSE
                            U.S. CONST. AMEND. V

      140.     Plaintiffs reallege, as if fully set forth in this Count, the facts

in Paragraphs 10-20, Section I (¶¶ 28-38), Section II (¶¶ 39-46), Section

IV (¶¶ 61-64), Section V (¶¶ 66-78), Section VI (¶¶ 88-95), and Section

VII(¶¶ 96-105).

      141.     Substantive Due Process. The military “vaccine” mandate

violates the liberty protected by the Fifth Amendment to the

Constitution, which includes rights of personal autonomy, self-

determination, bodily integrity and the right to reject medical treatment.

      142.     The ability to decide whether to accept or refuse medical

treatment is a fundamental right. Accordingly, Defendants’ “Vaccine”

Mandate violates Plaintiffs’ constitutional rights with regard to medical

treatment.

      143.     Because the injections are treatments, and not vaccines,

strict scrutiny applies. The US Supreme Court has recognized a “general

liberty interest in refusing medical treatment.” Cruzan v. Dir., Mo. Dep’t

of Health, 497 U.S. 261, 278, 110 S. Ct. 2841, 2851, 111 L.Ed.2d 224, 242

(1990). It has also recognized that the forcible injection of medication into

a nonconsenting person’s body represents a substantial interference with


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that person’s liberty. Washington v. Harper, 494 U.S. 210, 229, 110 S. Ct.

1028, 1041, 108 L.Ed.2d 178, 203 (1990), see also id. at 223 (further

acknowledging in dicta that, outside of the prison context, the right to

refuse treatment would be a “fundamental right” subject to strict

scrutiny). 13

      144.      Because mandated medical treatments are a substantial

burden, Defendants must prove that the Vaccine Mandate is narrowly

tailored to meet a compelling interest. Where the government burdens a

person’s liberty interest in bodily integrity, the government must: (1)

“adequately demonstrate a compelling need for the intrusion,” (2) “a lack

of reasonable alternatives,” and (3) appropriate “procedural and medical

safeguards.” Planned Parenthood Southwest Ohio Region v. DeWine, 696

F.3d 490, 506 (6th Cir. 2012) (discussing Riggins v. Nevada, 504 U.S.

127, 135-36, 112 S.Ct. 1810 (1992)).

      145.      No such compelling interest exists because, as alleged above,

the injections are not effective against the now dominant Omicron

variant of SARS-CoV-2 in that they do not prevent the recipient from


13Although Cruzan was decided under the due process clause of the Fourteenth
Amendment, the Supreme Court has long held that the same substantive due
process analysis applied to the states under the due process clause of the
Fourteenth Amendment also applies to the federal government under the due
process clause of the Fifth Amendment. See, e.g., Bolling v. Sharpe, 347 U.S.
497, 500 (1954).


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becoming infected, getting reinfected, or transmitting SARS-CoV-2 to

others. See supra ¶¶ 62.

      146.   By Defendant FDA’s own standards, the current EUA shots

only demonstrate that they may have been effective against the original

SARS-CoV-2 Alpha variant, but that strain has come and gone, and the

injections—designed to fight yesterday’s threat—are simply “obsolete”

against the current variant. See Ex. 20, McCullough Supp. Decl., ¶ 12.

      147.   Since the injections are ineffective against the currently

prevalent Omicron variants and sub-variants, and the original variant

has been supplanted, there can be no compelling interest to mandate

their use.

      148.   Even if there were a compelling interest in mandating the

injections, the Defendant DoD’s mandate is not narrowly tailored to

achieve such an interest.

      149.   Defendants also entirely disregard whether Plaintiffs have

already obtained natural immunity despite the fact that natural

immunity does actually provide immunity whereas the injections do not.

All members of the Natural Immunity Sub-Class have a documented

previous infection from which they have fully recovered, in most cases a

quite recent infection by the Omicron variant, thus have stronger and

more durable immunity from reinfection than they would acquire from


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vaccination.

      150.   Treating all servicemembers the same, regardless of their

individual medical status, risk factors, and natural immunity status is

not narrowly tailored.

      151.   Moreover, the Vaccine Mandate fails entirely to consider

other existing treatment options beyond the injections as part of a more

narrowly tailored approach.

      152.   Given these facts, the Vaccine Mandate has no real or

substantial relation to Force Protection and is, instead, a public health

policy backed by force, turning the entire program into a plain, palpable

invasion of rights secured by the fundamental law.

                     FOURTH CAUSE OF ACTION
VIOLATION OF FIFTH AMENDMENT DUE PROCESS CLAUSE
                          U.S. CONST. AMEND. V

      153.   Plaintiffs reallege, as if fully set forth in this Count, the facts

in Paragraphs 10-20, Section I (¶¶ 28-38), Section II (¶¶ 39-46), Section

IV (¶¶ 61-64), Section V (¶¶ 66-78), and Section VI (¶¶ 88-95).

      154.   Procedural Due Process. The DOD Mandate requires

Plaintiffs to take a vaccine without their consent and threatens to

deprive Plaintiffs of constitutionally protected life, liberty and property

interests without due process of law.

      155.   The DOD Mandate “threatens to substantially burden the


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liberty interests” of Plaintiffs “put to a choice between their job(s) and

their jab(s).” BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir.

2021) (“OSHA”). Plaintiffs face not only the loss of the current

employment, but also will be barred from other federal or private

employment due to their vaccination and discharge status. The DOD

Mandate, and its treatment of religious accommodation requests, also

burdens other fundamental rights—in particular, the free exercise of

religion protected by the First Amendment. See id., at *8 n.21 (citations

omitted).

      156.   The Defendants’ policy of systematic and uniform denial of

100% of RARs is just as much a deprivation of their Fifth Amendment

Due Process rights, U.S. CONST. AMEND. V, as it is of First Amendment

Free Exercise rights. Due process requires not only notice and an

opportunity to be heard, but also an impartial decisionmaker where,

unlike here, the outcome is not “predetermined.” See, e.g., McCarthy v.

Madigan, 503 U.S. 140, 148 (1992). The zero or near zero approval rate

shows that the Navy has “predetermined the denial of the religious

accommodations.” Navy SEALs 1-26, at *6. This is no accident, but the

intended result of a process designed to deny Plaintiffs’ free exercise

rights; their fate has been sealed before the process begins.

      157.   Vaccine refusal may also result in deprivation of protected


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property interests. Disciplinary action or discharge status may cause

Plaintiffs to lose retirement, veterans, and other governmental benefits

to which they are entitled. Loss of pay and benefits amount to hundreds

of thousands or even millions of dollars in many cases. See supra ¶ 93

(summarizing estimated lost pay and benefits).

      158.   As a result of the Defendants’ unlawful and unconstitutional

actions, Plaintiffs face deprivation of their rights to life, liberty and

property without due process or fair notice. Plaintiffs seek declaratory

and injunctive relief because they have no adequate remedy at law to

prevent future injury caused by Defendants' violation of their Fifth

Amendment rights to due process.

                      FIFTH CAUSE OF ACTION
   VIOLATIONS OF INFORMED CONSENT LAWS & PHSA
       10 .S.C. § 1107a, 21 U.S.C. 360bbb-3 & 42 U.S.C. § 262

      159.   Plaintiffs reallege, as if fully set forth in this Count, the facts

in Paragraphs 10-20, Section I (¶¶ 28-38), Section III (¶¶ 47-60), Section

IV (¶¶ 61-64), Section VI (¶¶ 88-96), and Section VII(¶¶ 97-101).

      160.   The DOD Mandate states that only FDA-licensed vaccines,

labeled in accordance with FDA requirements, are mandated. See supra

Ex. 6, DOD Mandate, at 1. However, due to the fact that such vaccines

were not available to Defendants, Defendants instead have ordered

Plaintiffs and all other service members to receive unlicensed, EUA


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vaccines “as if” they were FDA-licensed vaccines. See supra Sections I.B

& I.C.

      161.   The Informed Consent Laws expressly prohibit the

mandatory administration of EUA products, whether to service members

or anyone else. See 10 U.S.C. § 1107a and 21 U.S.C. § 360bbb-3. The

statutory informed consent rights are expressly stated in the fact sheet

that the FDA requires to be included in every package of EUA vaccines,

confirming that the recipient has the “option to accept or refuse” the EUA

product. See supra ¶ 49, Pfizer/BioNTech Fact Sheet, at 14.

      162.   The DoD Mandate and the Coast Guard Mandate violate

these Informed Consent Laws to the extent that the DoD and/or the

Coast Guard have mandated the unlicensed EUA Pfizer/BioNTech or

Moderna vaccines, and/or direct DoD healthcare providers or military

treatment facilities to administer the unlicensed EUA vaccine pursuant

to the DoD Mandate. While the DoD Mandate itself states that only

FDA-licensed vaccines may be mandated, see Ex. 6, DOD Mandate, at 1,

Defendants DoD and Coast Guard are in fact mandating EUA vaccines.

See Austin, 2021 WL 5816632, at *5.

      163.   The DoD and the Coast Guard are departments and agencies

of the United States Government. As such, they are agencies created by

statute, and “it is axiomatic that an administrative agency’s power to


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promulgate legislative regulations,” like the DoD Mandate, “is limited to

the authority delegated by Congress.” Bowen v. Georgetown Univ. Hosp.,

488 U.S. 204, 208, 109 S. Ct. 468, L.Ed.2d 493 (1988); see also La. Pub.

Serv. Comm’n v. FERC, 476 U.S. 355, 375, 106 S. Ct. 1890, 90 L.Ed.2d

369 (1986) (“an agency literally has no power to act, …, unless and until

Congress confers power on it.”).

      164.   While Congress and the President have delegated broad

authority to the DoD and the Secretary of Defense in military matters,

in 10 U.S.C. § 1107a they expressly prohibited Secretary Austin from

issuing the order at issue here mandating the administration of an EUA

product, without the express Presidential authorization that Secretary

Austin has neither requested nor received. Accordingly, the DoD

Mandate and the Navy Mandate implementation of it are “in excess of

statutory jurisdiction [and] authority.” 5 U.S.C. § 706(2)(C).

      165.   The Informed Consent Laws do not provide a private right

of action. Accordingly, Plaintiffs’ claims for Defendants’ ultra vires

actions in excess of their statutory authority, and in violation of

Plaintiff’s rights under the Informed Consent Laws, are brought under

the APA. See, e.g., Austin, 2021 WL 5816632, at *2 & *7 n.12 (violations

of Informed Consent Laws are “APA claims”). It is well-settled that,

where a statute does not expressly provide a cause of action, plaintiffs


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may enforce agency violations of the statute’s substantive requirements

through the judicial review provisions of the APA. See, e.g., Dunn-

McCampbell Royalty Int., Inc. v. Nat'l Park Serv., 112 F.3d 1283, 1286

(5th Cir. 1997).

      166.   It is further undisputed that the Pfizer/BioNTech and

Moderna EUA COVID-19 vaccines are “legally distinct” from the licensed

vaccines, Comirnaty and Spikevax. The EUA COVID-19 vaccines are

subject to the laws governing EUA products, including the right to

informed consent and to refuse mandatory administration, while

Comirnaty and Spikevax are subject to the heightened safety and

efficacy requirements governing FDA-licensed products, as well as the

PHSA and FDA’s requirements governing manufacturing and labeling

of licensed products. Defendants have directed that all EUA-labeled

COVID-19 vaccines by Pfizer/BioNTech or Moderna are legally

interchangeable with these manufacturers’ FDA-licensed vaccines (i.e.,

Comirnaty and Spikevax), such that all EUA-labeled vaccines may be

mandated. This directive erases the “legal[] distinct[ions] acknowledged

by the FDA, and treats the FDA’s determination that they are “medically

interchangeable” as if the FDA has made a “statutory interchangeability

determination,” despite the fact that the FDA has expressly disclaimed

having done so. See supra ¶ 58 (discussing Ex. 17, Marks Decl., ¶¶ 10-


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11).

       167.   In other legal challenges to the DOD Mandate, Defendants’

counsel has asserted the affirmative defense that the DoD Mandate, and

the scope of interchangeability, is limited to EUA-labeled, “BLA-

compliant” vaccines (i.e., vaccines manufactured in accordance with the

Comirnaty BLA). See generally Austin, 2021 WL 5616632, at *5-6. But

the DoD Mandate and the Navy orders never use the terms “BLA-

compliant,” or suggest any such limitation, and the publicly available

documents assert that any and all EUA-labeled vaccines are legally

interchangeable with the licensed vaccines, without any limitation to

“BLA-compliant” lots. The purported limitation of the mandate to “BLA-

compliant” lots was announced in the first instance by agency defense

counsel in court filings and is entirely unsupported in the record. Courts

may not accept “counsel’s post hoc rationalization” as prime authority

“for agency action.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (“State Farm”); see also Univ.

of Tex. M.D. Anderson Cancer Ctr. v. HHS, 985 F.3d 472, 475 (5th Cir.

2021) (“Post hoc rationalizations offered by the Government’s counsel are

irrelevant.”).

       168.   Moreover, the DoD administrative records submitted and

other filings in the Coker proceeding, which will be submitted separately


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in this proceeding, confirm that: (1) all references to interchangeability

in the record indicate that all unlicensed EUA-labeled COVID-19

vaccines (i.e., without limitation to EUA-labeled, BLA-compliant lots)

are deemed to be interchangeable with the licensed version; and (2) that

there is no discussion of interchangeability with respect to “BLA-

compliant” lots, nor is there any policy, directive, or guidance limiting

the DoD Mandate to EUA-labeled, “BLA-compliant” lots. See also Austin,

2021 WL 5616632, at *6 (“the DoD concedes that … its current [EUA-

labeled] vials are not BLA-compliant, and that there is no policy to

ensure that servicemembers get only BLA-compliant vaccines.”).

Accordingly, Defendants are barred by the “record rule” from asserting

any defense for which there is no support in the record and that was

asserted only by agency defense counsel.

      169.   As a result of Defendants’ unlawful actions, Plaintiffs are

required either to take an unlicensed, EUA vaccine or else face the

serious disciplinary consequences outlined above that will result in the

loss of his or her livelihood, veterans and other governmental benefits,

and fundamental rights. The DoD Mandate and the Coast Guard

Mandate must therefore be declared unlawful, and enjoined or vacated,

to the extent they require the mandatory administration of an EUA

COVID-19 vaccine. See generally John Doe #1 v Rumsfeld, 341 F. Supp.


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2d 1 (D.D.C. 2004) (“Rumsfeld I”), modified sub nom. 2005 WL 774857

(D.D.C. 2005) (“Rumsfeld II”) (expanding injunction against mandated

EUA anthrax vaccine).

                          SIXTH CAUSE OF ACTION
   VIOLATIONS OF ADMINISTRATIVE PROCEDURE ACT
             5 U.S.C. § 706(2)(A), § 706(2)(C) & § 706(2)(E)

      170.   Plaintiffs reallege, as if fully set forth in this Count, the facts

in Paragraphs 10-20, Section I (¶¶ 28-38), Section III (¶¶ 47-60), Section

IV (¶¶ 61-64), Section VI (¶¶ 88-96), and Section VII(¶¶ 97-105).

      171.   The DoD Mandate and the Coast Guard Mandate must be

set aside as “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(A). The entirety of the DOD

Mandate is a two-page memorandum from the Secretary of Defense that

cites no statute, regulation, executive order or other legal authority. The

DoD Mandate is arbitrary and capricious insofar as it imposes an

entirely new mandate on over two million active duty and reserve service

members without any explanation, justification, legal basis or authority;

any findings of facts or analysis (cost-benefit or otherwise) supporting

the directive; any meaningful consideration of alternatives to 100%

vaccination; any acknowledgement or explanation for the elimination of

the currently and pre-existing exemptions for service members who have

recovered from a previous documented infection; or any consideration of


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the heightened risks and lack of any compensating benefits of

vaccination for service members with documented previous infections.

      172.   The DOD Mandate and Armed Services’ guidance are ultra

vires actions “in excess of statutory jurisdiction [and] authority,” 5 U.S.C.

§ 706(2)(C), for the reasons set forth under the Fourth Cause of Action

above. The DOD and the Armed Services are departments and agencies

of the United States Government. As such, they are agencies created by

statute, and “it is axiomatic that an administrative agency’s power to

promulgate legislative regulations,” like the DOD Mandate, “is limited

to the authority delegated by Congress.” Bowen v. Georgetown Univ.

Hosp., 488 U.S. 204, 208, 109 S. Ct. 468, L.Ed.2d 493 (1988); see also La.

Pub. Serv. Comm’n v. FERC, 476 U.S. 355, 375, 106 S. Ct. 1890, 90

L.Ed.2d 369 (1986) (“an agency literally has no power to act, ..., unless

and until Congress confers power on it.”). While Congress and the

President have delegated the Secretary of Defense broad authority, they

have expressly withheld the authority to mandate an EUA vaccine

without Presidential waiver, which Secretary Austin has neither

received nor requested.

      173.   The DOD Mandate is arbitrary and capricious insofar as its

sole justification or explanation is a conclusory statement that the

Secretary has “determined that mandatory vaccination against [COVID-


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19] is necessary to protect the Force and defend the American people.”

Ex. 6, DOD Mandate, at 1. Given that the DOD Mandate was issued on

the very next day after FDA Comirnaty Approval, it is apparent the DoD

either blindly relied on the FDA approval and out-of-context FDA

statements regarding interchangeability or was fully involved in a

scheme to commit fraud upon members of the Armed Forces by denying

them their Constitutional and statutory rights and obviate the

Congressional requirements of 10 U.S.C §1107a.

     174.   Defendants   also   purport     to   rely   on   the   CDC’s

recommendations in adopting the two-dose regimen, but have ignored

the CDC’s unanimous recommendation that all eligible adults should

receive a third booster shot. See CDC, CDC Expands Eligibility for

COVID-19 Booster Shots to All Adults, CDC Media Statement (Nov. 19,

2021), available at: https://www.cdc.gov/media/releases/2021/s1119-

booster-shots.html. Such selective picking and choosing of which

recommendations to follow, without any explanation, is the essence of

arbitrary and capricious decision-making.

     175.   The DOD Mandate is also arbitrary and capricious because

it constitutes an unannounced and unexplained departure from a prior

policy. As the Fifth Circuit recently noted in issuing a Preliminary

Injunction against the OSHA vaccine mandate:


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     Because it is generally “arbitrary or capricious” to “depart
     from a prior policy sub silentio,” agencies must typically
     provide a “detailed explanation” for contradicting a prior
     policy, particularly when the “prior policy has engendered
     serious reliance interests.” OSHA’s reversal here strains
     credulity, as does its pretextual basis. Such shortcomings
     are all hallmarks of unlawful agency actions.

OSHA, 17 F.4th at 614.

     176.   The first vaccine that Defendant FDA ever granted EUA

status to was the anthrax vaccine in 2005 – and it is directly relevant

because in that prior case, both the Defendants DoD and FDA took the

exact opposite legal position on the record than that which they are

taking right now.

     177.   After the D.C. District Court enjoined the Defendant DoD’s

anthrax vaccine program in 2003 in Rumsfeld I, the defendant DoD and

FDA both took various actions to continue Secretary Cohen’s 1998

anthrax vaccine mandate. After being enjoined again, and facing a

permanent injunction, the Defendant DoD filed an emergency motion

with that court to Modify the Injunction because Defendant FDA had

reclassified the anthrax vaccine as an EUA product – the first time any

vaccine had ever been granted that status:

     Defendants have now filed an Emergency Motion to Modify
     the Injunction, seeking clarification that there exists a third
     option - an alternative to informed consent or a Presidential
     waiver - by which defendants can administer AVA to service
     members even in the absence of FDA approval of the drug:


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        that is, pursuant to an Emergency Use Authorization
        (“EUA”) under the Project BioShield Act of 2004, 21 U.S.C.A.
        § 360bbb-3.

John Doe #1 v Rumsfeld, 2005 WL 774857 (D.D.C. 2005) (enjoining

mandatory administration of EUA anthrax vaccine).

        178.   The FDA placed several conditions on granting the EUA, but

only one is important to this litigation. Noting that 21 U.S.C. § 360bbb-

3(e)(1)(A)(ii)(III) contains not only an informed consent requirement, but

also a requirement that individuals to whom the product is administered

be informed of the option to accept or refuse administration of the

product, the FDA determined that an option to refuse vaccination meant

that DOD’s AVIP could not be mandatory, and that there could

be no disciplinary or other punitive measures taken against service

members, civilian employees, or civilian contractors who refused the

shot.

        With respect to condition (3), above, relating to the option to
        accept or refuse administration of AVA, the AVIP will be
        revised to give personnel the option to refuse vaccination.
        Individuals who refuse anthrax vaccination will not be
        punished. Refusal may not be grounds for any disciplinary
        action under the Uniform Code of Military Justice. Refusal
        may not be grounds for any adverse personnel action. Nor
        would either military or civilian personnel be considered
        non-deployable or processed for separation based on refusal
        of       anthrax         vaccination.        There         may
        be no penalty or loss of entitlement for refusing anthrax
        vaccination.



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70 Fed Reg. 5452, 5455 (Feb.2, 2005)(emphasis added).

         179.   In other words, in circumstances identical to those presented

here—and contemporaneously with the enactment of the 10 U.S.C.

§ 1107a—the FDA determined that the statutory requirement of an

option to refuse a mandatory EUA vaccination meant that there can

be no punitive action against someone who does not want the shot. This

requirement applied to both military members and civilian employees

and contractors, all of whom were subject to the anthrax vaccination

program in its original form.

         180.   Additionally, in a July 6, 2021 memorandum from the Office

Legal Counsel, the DOD interpreted the informed consent requirements

in 10 U.S.C. § 1107a “to mean that DOD may not require service

members to take an EUA [vaccine]” without first obtaining a

Presidential Waiver under 10 U.S.C. § 1107a. 14 There has been no

Presidential Waiver, yet the Defendants are mandating use of EUA

vaccines. “[A]gencies must typically provide a ‘detailed explanation’ for

contradicting a prior policy;” they may not, as DOD has done here,

“depart from a prior policy sub silentio.” OSHA, 17 F.4th at 614 (quoting

FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515, 129 S. Ct. 1800



14   See Exhibit 39, Office of Legal Counsel, Vaccine Mandate Opinion, at 16.


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(2009)).

      181.   The   DoD     administrative    record    provides    further

confirmation that Defendants acted arbitrarily and capriciously in

enacting the mandate because Defendants failed altogether to consider

any alternatives to 100% vaccination, including measures that had been

effectively employed over the previous 18 months prior to the mandate

(e.g., masking, social distancing, testing, quarantine, etc.). Nor did

Defendants provide any explanation in the record as to why these

alternatives were inadequate or consider the relative costs and benefits

of alternative measures. This is confirmed by the findings of the five U.S.

district courts in the RFRA context that the DOD and other Armed

Services failed to consider any alternative less restrictive measures. See,

e.g., Navy SEAL 1, 2022 WL 534459, at *18; Air Force Officer v. Austin,

2022 WL 468799, *10 (M.D. Ga. Feb. 15, 2022) (“Air Force Officer”).

Where an agency like DOD “provide[d] little or no explanation for the

[its] choices,” “omit[s] explanation for rejecting alternatives,” and did

“not address alternative (or supplementary) requirements,” its order is

arbitrary and capricious and must be vacated. Health Freedom Def. Fund

v. Biden, 2022 WL 1134138, at *18-19 (M.D. Fla. Apr. 18, 2022).

      182.   Finally, the DOD Mandate and Armed Services Guidance

are arbitrary and capricious, and unsupported by substantial evidence,


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insofar as they categorically eliminated existing exemptions for previous

documented infections under AR 40-562, or to consider natural

immunity in its religious exemption decisions. See, e.g., Navy SEAL 1, at

*16 & n.10; Navy SEALs 1-26, at *10; Air Force Officer, at *10. In doing

so, Defendants have “entirely failed to consider an important aspect of

the problem.” State Farm, 463 U.S. at 43.

      183.   As a result of the Defendants’ unlawful actions, the Plaintiffs

have suffered damages, including being required to take an unlicensed

drug of unknown long-term safety profile; being subject to or threatened

with disciplinary action under the Uniform Code of Military Justice

(UCMJ), and including adverse administrative action that would

discharge the Plaintiffs for “misconduct” and characterize their

voluntary service as “other than honorable.”

                         RELIEF REQUESTED

   WHEREFORE, Plaintiffs respectfully ask this Court to:

      A.     Declare the DoD Mandate and the Coast Guard Mandate to
             be unlawful and unconstitutional and to vacate these orders;

      B.     Declare that the Defendants’ No Accommodation Policy
             violates services members’ rights under RFRA, the First
             Amendment Free Exercise Clause, and the Fifth
             Amendment Due Process Clause;

      C.     Enjoin the implementation or enforcement of the DOD
             Mandate and the Coast Guard Mandate by the Defendants
             with respect to the Plaintiffs and similarly situated Coast
             Guard members; and

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     D.    Enjoin any adverse or retaliatory action against the
           Plaintiffs as a result of, arising from, or in conjunction with
           the Plaintiffs’ RAR requests or denials, or for pursuing this
           action, or any other action for relief from Defendants’
           constitutional, statutory, or regulatory violations.

     E.    Award plaintiffs’ costs and attorneys’ fees and any other
           relief this Court may find appropriate.


Dated: July 25, 2022



Respectfully submitted,

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                            (PHV Motion Pending)

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